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    ORAL ARGUMENT HAS NOT YET BEEN SCHEDULED

           UNITED STATES COURT OF APPEALS
         FOR THE DISTRICT OF COLUMBIA CIRCUIT

               Nos. 22-1221, 22-1252, 22-1291 (consolidated)

                        THE EVERGY COMPANIES, ET AL.,
                                Petitioners,
                                      v.
                   FEDERAL ENERGY REGULATORY COMMISSION,
                                 Respondent.
                        ___________________________

                   ON PETITIONS FOR REVIEW OF ORDERS OF THE
                   FEDERAL ENERGY REGULATORY COMMISSION
                       _____________________________

 BRIEF OF PETITIONERS EVERGY KANSAS CENTRAL, INC.,
  EVERGY METRO, INC., EVERGY MISSOURI WEST, INC.,
          AND GRIDLIANCE HIGH PLAINS LLC
                       _____________________________

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December 5, 2022
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     CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

       Pursuant to D.C. Circuit Rule 28(a)(1), Petitioners Evergy Kansas Central,

Inc., Evergy Metro, Inc., and Evergy Missouri West, Inc. (collectively, The Evergy

Companies), and GridLiance High Plains LLC (GridLiance) submit the following

Certificate as to Parties, Rulings, and Related Cases:

A.     Parties, Intervenors, and Amici Before the Court

       The Evergy Companies
       GridLiance
       Federal Energy Regulatory Commission
       Southwest Power Pool, Inc.
       Golden Spread Electric Cooperative, Inc.
       Oklahoma Gas and Electric Company
       Xcel Energy, Inc.
       American Electric Power Service Corporation
       Kansas City, Kansas Board of Public Utilities
       Missouri Joint Municipal Electric Utility Commission
       Kansas Municipal Energy Agency
       Kansas Power Pool
       East Texas Electric Cooperative, Inc.
       Northeast Texas Electric Cooperative, Inc.
       Kansas Electric Power Cooperative, Inc.

B.     Parties Before the Federal Energy Regulatory Commission

       Ameren Services Company
       American Electric Power Service Corporation
       Basin Electric Power Cooperative
       City Utilities of Springfield, Missouri
       East River Electric Power Cooperative, Inc.
       East Texas Electric Cooperative, Inc.


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     The Evergy Companies
     Golden Spread Electric Cooperative, Inc.
     GridLiance
     Independence Power & Light, City of Independence, Missouri
     ITC Great Plains, LLC
     Kansas City, Kansas Board of Public Utilities
     Kansas Electric Power Cooperative, Inc.
     Kansas Municipal Energy Agency
     Kansas Power Pool
     Missouri Joint Municipal Electric Utility Commission
     Municipal Energy Agency of Nebraska
     Northeast Texas Electric Cooperative, Inc.
     Oklahoma Gas & Electric Company
     Oklahoma Municipal Power Authority
     People’s Electric Cooperative
     Southwest Power Pool, Inc.
     Southwest Transmission, LLC
     Sunflower Electric Power Corporation
     Western Area Power Administration
     Western Farmers Electric Cooperative
     Xcel Energy Services Inc.

C.   Rulings Under Review:

     1.   Southwest Power Pool, Inc., Docket No. ER22-1719-000, “Order
     Accepting Tariff Revisions,” 179 FERC ¶ 61,229 (June 28, 2022);

     2.    Southwest Power Pool, Inc., Docket No. ER22-1712-000, “Notice of
     Denial of Rehearing by Operation of Law and Providing for Further
     Reconsideration,” 180 FERC ¶ 62,095 (Aug. 29, 2022); and

     3.     Southwest Power Pool, Inc., Docket No. ER22-1712-000, “Order
     Addressing Arguments Raised on Rehearing and Granting Clarification, in
     Part,” 181 FERC ¶ 61,053 (Oct. 20, 2022).




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D.    Related Cases

      Counsel is not aware of any related cases previously before this Court or any

other court, or pending in this Court or in any other court.

                                           Respectfully submitted,

                                           /s/ John Lee Shepherd, Jr.
                                           John Lee Shepherd, Jr.

                                           Counsel for The Evergy Companies and
                                           GridLiance High Plains LLC




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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C. Circuit Rule

26.1, Petitioners Evergy Kansas Central, Inc., Evergy Metro, Inc., and Evergy

Missouri West, Inc., and GridLiance High Plains LLC make the following

disclosures:

      Evergy Kansas Central, Inc., Evergy Metro, Inc., and Evergy Missouri West,

Inc. (collectively, The Evergy Companies), are vertically integrated utilities that

generate, transmit, and distribute electricity to customers in Kansas and Missouri.

The Evergy Companies are transmission owners in the Southwest Power Pool, Inc.

(SPP) and own transmission facilities that are under the operational control of SPP.

The Evergy Companies are all wholly-owned subsidiaries of Evergy, Inc., a

publicly-traded company (collectively, Evergy). At present, no publicly-traded

company owns more than 10 percent of Evergy, Inc.

      GridLiance High Plains LLC is a transmission-only company that was formed

to partner with municipal electric utilities, electric cooperatives, and joint action

agencies in the SPP region. GridLiance High Plains LLC is a transmission owner in

SPP and owns transmission facilities that are under the functional control of SPP.

GridLiance High Plains LLC is an indirect, wholly-owned subsidiary of GridLiance

Holdco, LLC, which in turn is a direct, wholly-owned subsidiary of NextEra Energy

Transmission, LLC. NextEra Energy Transmission, LLC is in turn a wholly-owned



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subsidiary of NextEra Grid Holdings, LLC, which is a direct, wholly-owned

subsidiary of NextEra Energy Capital Holdings, Inc. NextEra Energy Capital

Holdings, Inc. is a direct wholly-owned subsidiary of NextEra Energy, Inc.

(NextEra). NextEra is a publicly-held company with shares listed on the New York

Stock Exchange. No publicly-held company has a 10 percent or greater ownership

interest in NextEra.

                                       Respectfully submitted,

                                       /s/ John Lee Shepherd, Jr.
                                       John Lee Shepherd, Jr.

                                       Counsel for The Evergy Companies and
                                       GridLiance High Plains LLC




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                                  Revisions to Establish Zonal Planning
                                  Criteria, Docket No. ER20-2334-000 (July 7,
                                  2020)

 2022 SPP Orders                  Collectively, Sw. Power Pool, Inc., 179 FERC
                                  ¶ 61,229 (2022); Sw. Power Pool, Inc., 180
                                  FERC ¶ 62,095 (2022); and Sw. Power Pool,
                                  Inc., 181 FERC ¶ 61,053 (2022)

 2022 SPP Proposal                Sw. Power Pool, Inc., Submission of Tariff
                                  Revisions to Establish Zonal Planning
                                  Criteria, Docket No. ER22-1719-000 (Apr. 29,
                                  2022)

 AEP                              American Electric Power Corporation

 APA                              Administrative Procedure Act

 Commission                       Federal Energy Regulatory Commission

 CTOA                             PJM Coordinated Transmission Operating
                                  Agreement

 Evergy                           Evergy Inc. and its operating subsidiaries, The
                                  Evergy Companies

 Evergy Protest                   Sw. Power Pool, Inc., Protest of the Indicated
                                  SPP Transmission Owners, Docket No. ER22-
                                  1719-000 (May 20, 2022)

 Evergy Rehearing Request         Sw. Power Pool, Inc., Request for Rehearing,
                                  Alternative Requests for Clarification, and
                                  Request for Expedited Action of the Indicated
                                  SPP Transmission Owners, Docket No. ER22-
                                  1719-000 (July 22, 2022)

 Facilitating Transmission Owner Defined in the SPP Tariff, § 1.1, in part as:
                                 “The Facilitating Transmission Owner is


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                                responsible for the Zonal Planning Criteria
                                responsibilities as described in Attachment O
                                of this Tariff. By April 2nd, the Network
                                Customer with the largest total Network Load
                                in the Zone, computed in accordance with
                                Sections 34.4 and 34.5 of the Tariff on an
                                average calendar year basis for the prior
                                calendar year, shall designate a Transmission
                                Owner with a Zonal Annual Transmission
                                Revenue Requirement for facilities in the Zone
                                as the Facilitating Transmission Owner for the
                                Zone each year.”

 FERC                           Federal Energy Regulatory Commission

 FPA                            Federal Power Act

 GridLiance                     GridLiance High Plains LLC

 GridLiance Protest             Sw. Power Pool, Inc., Protest of GridLiance
                                High Plains LLC, Docket No. ER22-1719-000
                                (May 20, 2022)

 GridLiance Rehearing Request   Sw. Power Pool, Inc., Request for Rehearing
                                or, in the Alternative, Clarification of
                                GridLiance High Plains LLC, Docket No.
                                ER22-1719-000 (July 28, 2022)

 ISO                            Independent System Operator

 ITP                            Integrated Transmission Planning process

 June 28 Order                  Sw. Power Pool, Inc., 179 FERC ¶ 61,229
                                (2022)

 Long-Term Service              Defined in the SPP Tariff, § 1.1, as: “Long-
                                Term Firm Point-To-Point Transmission
                                Service or Network Integration Transmission
                                Service of one year or longer.”




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 Modification Order             Sw. Power Pool, Inc., 181 FERC ¶ 61,053
                                (2022)

 NERC                           North    American       Electric     Reliability
                                Corporation

 Network Customer               Defined in the SPP Tariff, § 1.1, as: “An entity
                                receiving transmission service pursuant to the
                                terms of the Transmission Provider's Network
                                Integration Transmission Service under Part
                                III of the Tariff.”

 Network Load                   Defined in the SPP Tariff, § 1.1, in part as:
                                “The load that a Network Customer designates
                                for Network Integration Transmission Service
                                under Part III of the Tariff.”

 NextEra                        NextEra Energy, Inc.

 OG&E                           Oklahoma Gas & Electric Company

 OG&E Protest                   Sw. Power Pool, Inc., Protest of Oklahoma
                                Gas and Electric Company, Docket No. ER22-
                                1719-000 (May 20, 2022)

 OG&E Rehearing Request         Sw. Power Pool, Inc., Request for Rehearing
                                of Oklahoma Gas and Electric Company,
                                Docket No. ER22-1719-000 (July 27, 2022)

 PJM                            PJM Interconnection, L.L.C.

 Planning NOPR                  Building for the Future Through Electric
                                Regional Transmission Planning & Cost
                                Allocation & Generator Interconnection, 179
                                FERC ¶ 61,028 (2022)

 PSEG                           Public Service Electric & Gas Co., 179 FERC
                                ¶ 61,001 (2022)

 RTO                            Regional Transmission Organization



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 SPP                               Southwest Power Pool, Inc.

 SPP Criteria                      Defined in the SPP Tariff, § 1.1, as: The SPP
                                   Planning Criteria and SPP Operating Criteria
                                   collectively, as approved by the Board of
                                   Directors in accordance with the SPP Bylaws,
                                   and posted on the SPP website.

 SPP Planning Criteria             Criteria employed by SPP for regional
                                   planning purposes

 Tariff                            Open Access Transmission Tariff

 The Evergy Companies              Evergy Kansas Central, Inc., Evergy Metro,
                                   Inc., and Evergy Missouri West, Inc.

 Transmission Customer             Defined in the SPP Tariff, § 1.1, in part as:
                                   “Any Eligible Customer (or its Designated
                                   Agent) that (i) executes a Service Agreement,
                                   or (ii) requests in writing that the Transmission
                                   Provider file with the Commission, a proposed
                                   unexecuted Service Agreement to receive
                                   transmission service under Part II of the
                                   Tariff.”

 Transmission Owner                Defined in the SPP Tariff, § 1.1, in part as:
                                   “Each Member of SPP that has executed an
                                   SPP     Membership Agreement             as a
                                   Transmission Owner and therefore has the
                                   obligation to construct, own, operate, and
                                   maintain transmission facilities as directed by
                                   the Transmission Provider and: (i) whose
                                   Tariff facilities (in whole or in part) make up
                                   the Transmission System; or (ii) who has
                                   accepted a Notification to Construct but does
                                   not yet own transmission facilities under
                                   SPP’s functional control.”

 Zonal Annual Transmission Defined in the SPP Tariff, § 1.1, as: “The
 Revenue Requirement       revenue requirements for facilities in each
                           Zone and the Accredited Revenue

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                                 Requirement(s), if any, that are allocated to the
                                 Zone in accordance with Attachment J to this
                                 Tariff as set forth in Attachment H, Table 1,
                                 Column (3).”

 Zonal Planning Criteria         Defined in the SPP Tariff, § 1.1, as: “In each
                                 Zone, the set of measuring systems and
                                 performance standards that is used for
                                 assessing the actual or projected ability of the
                                 Transmission System to deliver power to load
                                 reliably. Zonal Planning Criteria for Zone 10
                                 shall be subject to Attachment AD of the
                                 Tariff.”

 Zonal Reliability Upgrades      Defined in the SPP Tariff, § 1.1, as: “Those
                                 upgrades included in and constructed pursuant
                                 to the SPP Transmission Expansion Plan in
                                 order to ensure the reliability of the
                                 Transmission System identified because of
                                 application of Zonal Planning Criteria. Zonal
                                 Planning Criteria for Zone 10 shall be subject
                                 to Attachment AD of the Tariff.”

 Zone                            Defined in the SPP Tariff, § 1.1, as: “The
                                 geographic area of the facilities of a
                                 Transmission Owner or a specific combination
                                 of Transmission Owners as specified in
                                 Schedules 7, 8, and 9.”




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                                  INTRODUCTION

      This case is about the effect transmission planning procedures have on

transmission cost allocation among utilities within the Southwest Power Pool (SPP),

a Regional Transmission Organization (RTO) regulated by the Federal Energy

Regulatory Commission (FERC). FERC’s orders below accepted changes to SPP’s

planning procedures that will systematically permit certain utilities to escape cost

responsibility for transmission projects that benefit them. That outcome violates the

Federal Power Act (FPA) and this Court’s precedents.

      FERC regulations and SPP’s Open Access Transmission Tariff (OATT or

Tariff) require SPP to administer a regional transmission plan that incorporates

mandatory reliability standards set by the North American Reliability Corporation

(NERC), SPP Criteria, 1 and Transmission Owner-specific local planning criteria.

Historically, SPP identified Zonal Reliability Upgrades during its regional planning

process by using voltage limits determined through each Transmission Owner’s

local planning process. As required by cost causation principles, utilities within each

SPP transmission pricing Zone have shared the cost of Zonal Reliability Upgrades

by allocating costs among utilities in proportion to their respective electric loads,

reflecting the benefit that each utility receives.



      1
         Capitalized terms not otherwise defined in this brief have the meaning set
forth in the SPP Tariff.
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      In the proceeding below, SPP modified its Tariff to create a system for

establishing Zonal Planning Criteria—a new feature that displaced SPP’s previous

reliance on individual Transmission Owners’ local planning criteria to identify both

Zonal Reliability Upgrades and regionally-beneficial Base Plan Upgrades.

Specifically, SPP directed the utility with the largest load in each Zone to designate

a Facilitating Transmission Owner to administer a stakeholder process to adopt

Zonal Planning Criteria through a two-step voting process. Step one is a load-

weighted vote requiring approval by the largest load in the Zone plus one-half of the

remainder of the load in the Zone. Step two requires majority approval from all

Transmission Owners and Transmission Customers, with mixed vertically-

integrated or affiliated entities casting only one vote. Going forward, SPP’s Tariff

revisions explicitly deny zonal cost allocation for projects built pursuant to local

planning criteria outside of the new zonal planning process without regard for zonal

benefits, even when such projects are identified pursuant to local planning process

approved by FERC itself. SPP’s new rules also limit access to regional cost

allocation because SPP substituted Zonal Planning Criteria for SPP’s previous

reliance on local planning criteria to identify regionally-beneficial projects.

      SPP intended to eliminate the “potential for a Transmission Owner to establish

local planning criteria that would produce upgrades solely, or disproportionately,

benefitting a portion of the load in the Zone at the expense of all load in the Zone.”


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JA0010; JA425. The effect, however, was to make the adoption of Zonal Planning

Criteria impossible in several Zones, including those in which Petitioners operate,

because the voting rules allow any single utility—regardless of its size—to veto the

adoption of Zonal Planning Criteria and thereby force all costs on the constructing

Transmission Owner regardless of any benefit the vetoing utility might receive.

      That is not a lawful ratemaking regime. To be just and reasonable under the

FPA, transmission cost allocation must conform to the cost causation principle,

which “ensures burden is matched with benefit, so that FERC generally may not

single out a party for the full cost of a project, or even most of it, when the benefits

of the project are diffuse.” Old Dominion Elec. Coop. v. FERC, 898 F.3d 1254,

1255 (D.C. Cir. 2018) (ODEC). Therefore, it is not just and reasonable for FERC to

categorically “prohibit cost sharing for any project included in [a] Regional Plan

only to satisfy individual utilities’ planning criteria.” Id. at 1257. Nevertheless, that

is precisely what FERC’s orders below do. FERC lost its way because it conflated

voting procedures with cost allocation, forgetting this Court’s guidance that “the

cost-causation principle focuses on project benefits, not on how particular planning

criteria were developed.” Id. at 1262.

      The orders below also violated the FPA by impermissibly shifting the burden

of proof from the rate proponent to Petitioners and by imposing significant planning

mandates on Facilitating Transmission Owners without any form of compensation.


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And all of these statutory violations are compounded by several failures of reasoned

decisionmaking under the Administrative Procedure Act (APA). For all of these

reasons, FERC’s orders must be vacated.

                       JURISDICTIONAL STATEMENT

      FERC issued its initial order on June 28, 2022. Sw. Power Pool, Inc., 179

FERC ¶ 61,229 (2022) (June 28 Order), JA242. Evergy and GridLiance timely

sought rehearing on July 22 and July 27, 2022, respectively. JA266; JA327. On

August 25, 2022, Evergy timely petitioned this Court for review. JA372. Four days

later, FERC’s secretary issued a Notice advising that all requests for rehearing were

deemed denied under FPA section 313(a), 16 U.S.C. § 825l(a). Sw. Power Pool,

Inc., 180 FERC ¶ 62,095 (2022), JA386. GridLiance timely petitioned for review

on September 27, 2022. JA387. The Court consolidated the petitions the next day.

      After FERC issued an October 20, 2022 substantive rehearing order, Sw.

Power Pool, Inc., 181 FERC ¶ 61,053 (2022) (Modification Order), JA390, Evergy

and GridLiance moved to amend their petitions on October 21, 2022. On November

14, 2022, GridLiance filed an additional petition for review, JA440, that was

consolidated with the earlier petitions on November 16, 2022. This Court has

jurisdiction under FPA section 313(b), 16 U.S.C. § 825l(b).

                       STATUTES AND REGULATIONS

      Pertinent statutes are appended as Attachment A.



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                            STATEMENT OF ISSUES

1.    Whether FERC violated the Federal Power Act (FPA) by accepting Tariff

revisions that render regionally and zonally beneficial transmission projects

ineligible for regional or zonal cost allocation, by shifting the burden of proof to

Petitioners in the proceedings below, and by imposing planning burdens on

Facilitating Transmission Owners without compensation.

2.    Whether the Commission violated the Administrative Procedure Act (APA)

by basing its decision on a fundamental misunderstanding of the 2022 SPP Proposal,

allowing SPP to abdicate its planning responsibilities, failing to justify its departure

from prior precedent, and ignoring the 2022 SPP Proposal’s adverse impacts to the

reliability of the SPP transmission system.

3.    As directed by the Court, whether the FPA requires new petitions for review,

rather than amended petitions for review, to obtain review of orders issued after the

original petitions for review were filed.

                          STATEMENT OF THE CASE

      A. Statutory and Regulatory Overview

      FPA section 205 requires FERC to ensure public utilities charge “‘just and

reasonable’ rates for the transmission of electricity in interstate commerce.” Long

Island Power Auth. v. FERC, 27 F.4th 705, 709 (D.C. Cir. 2022) (LIPA) (quoting 16

U.S.C. § 824d). This statutory obligation has long been held “to incorporate a ‘cost



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causation principle’—the rates charged for electricity should reflect the costs of

providing it.” ODEC, 898 F.3d at 1255 (citing Ala. Elec. Coop., Inc. v. FERC, 684

F.2d 20, 27 (D.C. Cir. 1982)); accord, e.g., Constellation Mystic Power, LLC v.

FERC, 45 F.4th 1028, 1049-50 (D.C. Cir. 2022); LIPA, 27 F.4th at 709.

      The cost causation principle “adds flesh to the bare statutory bones of the just-

and-reasonable rate requirement” and “requires comparing the costs assessed against

a party to the burdens imposed or benefits drawn by that party.” ODEC, 898 F.3d

at 1255-56 (cleaned up).       This cost/benefit comparison—also known as the

“beneficiary pays” principle—“ensures burden is matched with benefit, so that

FERC generally may not single out a party for the full cost of a project, or even most

of it, when the benefits of the project are diffuse.” Id. at 1255. It is well established

that “a ‘beneficiary pays’ approach is a just and reasonable basis for allocating the

costs of regional transmission projects.” FirstEnergy Serv. Co. v. FERC, 758 F.3d

346, 354 (D.C. Cir. 2014).

      To implement these principles into regional transmission planning, FERC

required in Order No. 2000 2 that each Regional Transmission Organization (RTO)

“must have ultimate responsibility for both transmission planning and expansion

within its region that will enable it to provide efficient, reliable and non-


      2
        Reg’l Transmission Orgs., Order No. 2000, 89 FERC ¶ 61,285, order on
reh’g, Order No. 2000-A, 90 FERC ¶ 61,201, aff’d sub nom. Pub. Util. Dist. No. 1
of Snohomish Cty. v. FERC, 272 F.3d 607 (D.C. Cir. 2001).

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discriminatory service and coordinate such efforts with the appropriate state

authorities.” Order No. 2000 at 31,163. FERC built on these principles in Order

No. 890, 3 which “required that transmission providers, such as SPP, participate in a

coordinated, open, and transparent planning process on both a local and regional

level.” Modification Order at P 4, JA392 (quoting Order No. 890, at P 435.

      In 2011 FERC promulgated Order No. 1000 4 “to foster the efficient

development of the transmission grid.” Pub. Serv. Elec. & Gas Co. v. FERC, 989

F.3d 10, 14 (D.C. Cir. 2021). Among its other obligations, “Order No. 1000 requires

utilities to participate in regional transmission planning and to include in their tariffs

a formula ‘for allocating the costs of new transmission facilities selected in the

regional transmission plan.’” Id. (quoting Order No. 1000 at P 448). Pursuant to

Order No. 1000, a utility’s cost-allocation methodology must satisfy six criteria, “the

first of which embodies the cost-causation principle by requiring that costs be

‘allocated in a way that is roughly commensurate with benefits.’” Id. (quoting Order



      3
         Preventing Undue Discrimination & Preference in Transmission Serv.,
Order No. 890, 118 FERC ¶ 61,119, at P 435, order on reh’g, Order No. 890-A, 121
FERC ¶ 61,297 (2007), order on reh’g, Order No. 890-B, 123 FERC ¶ 61,299
(2008), order on reh’g, Order No. 890-C, 126 FERC ¶ 61,228, order on
clarification, Order No. 890-D, 129 FERC ¶ 61,126 (2009).
      4
        Transmission Planning & Cost Allocation by Transmission Owning &
Operating Pub. Utils., Order No. 1000,136 FERC ¶ 61,051 (2011), order on reh’g,
Order No. 1000-A, 139 FERC ¶ 61,132, order on reh’g & clarification, Order No.
1000-B, 141 FERC ¶ 61,044 (2012), aff’d sub nom. S.C. Pub. Serv. Auth. v. FERC,
762 F.3d 41 (D.C. Cir. 2014).

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No. 1000 at P 622). Projects that provide regional benefits therefore may not be

“arbitrarily excluded from cost-sharing—a necessary corollary to ensuring that the

costs of such projects are allocated commensurate with their benefits.” ODEC, 898

F.3d at 1263.

      Most recently, FERC reiterated the goal of adopting “more efficient and cost-

effective” regional transmission solutions rather than less-efficient local solutions in

its Notice of Proposed Rulemaking (Planning NOPR) issued April 21, 2022.5 The

Planning NOPR expressed concern that “public utility transmission providers

developing regional transmission plans may lack the information necessary to

identify the benefits regional transmission facilities may provide in deferring or

eliminating the need for in-kind replacements.” Planning NOPR at P 399. As FERC

explained, the “lack of coordination between regional transmission planning

processes and in-kind replacement of existing transmission facilities to identify

whether these replacement transmission facilities could be modified to more

efficiently or cost-effectively address transmission needs identified through Long-

Term Regional Transmission Planning.” Id. FERC also expressed concern that

utilities are not “evaluating whether those replacement transmission facilities could




      5
        Building for the Future Through Electric Regional Transmission Planning
& Cost Allocation & Generator Interconnection, 179 FERC ¶ 61,028 (2022)
(Planning NOPR).

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be modified (i.e., right sized) to more efficiently or cost-effectively address regional

transmission needs.” Id. To address these issues, the Planning NOPR proposes a

series of reforms that would mandate that local transmission needs be considered as

part of the regional transmission planning process. Id. PP 400-415.

      B. Regional and Local Transmission Planning in SPP

      SPP is an RTO responsible for “administer[ing] the provision of open access

transmission service on a regional basis across the facilities of its transmission

owning members.” Xcel Energy Servs. Inc. v. FERC, 815 F.3d 947, 950 (D.C. Cir.

2016) (citation omitted). SPP has members in fourteen states and is divided into

nineteen regional transmission Zones, one of which is currently “reserved for future

use.” SPP Tariff, Sch. 7; see Southwest Power Pool, Fast Facts, https://www.spp.

org/about-us/fast-facts/. Customers in each Zone are charged “rates based on the

cost of transmission facilities in that [Z]one.” Neb. Pub. Power Dist. v. FERC, 957

F.3d 932, 934 (8th Cir. 2020). Unlike other RTOs and independent system operators

(ISOs), ten of SPP’s transmission Zones contain multiple Transmission Owners. See

SPP Tariff, Attach. H, § I, Tbl. 1.

      The figure below roughly illustrates SPP’s current pricing Zones, each

identified by the original name of its dominant transmission-owning utility, some of

which have changed.




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Holland Aff. ¶ 6, JA107 (modified to add Zone numbers and correct Zone 6/9

boundary). These Zones vary significantly in terms of geographic area (single

municipalities to multiple states), electric load density (rural to urban industrial), the

number of transmission-owning utilities they include (one to twenty), and utility

business models (cooperatives, municipal and other public power entities, vertically-

integrated utilities, and independent transmission companies). See id. ¶¶ 7-8.

      Petitioner Evergy’s vertically-integrated operating companies in the greater

Kansas City metropolitan region and eastern Kansas generate power and serve

electric load in Zones 6 (Evergy Metro), 9 (Evergy Mo. West), and 14 (Evergy

Kansas Central). See SPP Tariff, Attach. H, § I, Tbl. 1. Evergy is the dominant



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transmission-owning utility in each Zones it serves. It shares Zone 6 with the City

of Independence, MO; shares Zone 9 with Transource Missouri, LLC (jointly-owned

by American Electric Power (AEP); and shares Zone 14 with Prairie Wind

Transmission, LLC (also jointly-owned by AEP), Kansas Power Pool (a municipal

energy agency), and co-Petitioner GridLiance. Id.

      GridLiance is a transmission-only utility formed to partner with municipally-

owned electric utilities, joint action agencies, and electric cooperatives in SPP.

GridLiance operates in Zones 11 and 14. Id. (listing GridLiance as South Central

MCN LLC). The dominant utilities in those Zones are Southwestern Public Service

Company (Zone 11), and co-Petitioner Evergy (Zone 14).

      A boundary map does not indicate the electrical relationships between SPP’s

members, which is important here. The next figure demonstrates the electrical

relationship between Evergy’s transmission facilities and other facilities embedded

within Evergy’s transmission network, including the City of Independence (lime),

Transource Missouri, LLC (red), and Prairie Wind Transmission, LLC (magenta).




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             1. The Evolution of SPP Planning Criteria

      SPP’s Integrated Transmission Planning (ITP) process serves as SPP’s

primary mechanism for performing regional planning. Holland Aff. ¶ 4, JA107.

Under its regional planning process, SPP allocates the cost of transmission facilities

based on SPP’s 18 transmission pricing Zones. Id. ¶ 10, JA109. Specifically, SPP

allocates the following projects exclusively to the local pricing Zones: (1) legacy

projects; (2) projects built outside the SPP regional planning process pursuant to

individual Transmission Owners’ local planning standards; and (3) projects with

voltages of less than 100 kV. Id. For projects with voltages between 100 and 300




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kV, one-third is allocated to the entire SPP region and two-thirds are allocated to the

relevant Zone. Id.

      Historically, SPP has used its regional planning process to identify Zonal

Reliability Upgrades based on each Transmission Owner’s local planning criteria.

Id. ¶ 14, JA110; see also JA038-40 (amending prior Tariff). “SPP first developed

this process for identifying Zonal Reliability Upgrades in connection with its

compliance with Order No. 890.” Modification Order at P 4, JA392 (citing Sw.

Power Pool, Inc., 127 FERC ¶ 61,171, at PP 67-72 (2009)). SPP then allocated the

costs of Zonal Reliability Upgrades to customers on a zonal basis. Id. Since the

inception of transmission planning in SPP, Evergy has relied on the SPP regional

planning process to implement Evergy’s local planning criteria to develop reliability

projects and, importantly, to allocate the costs of those projects to those who benefit

from them. GridLiance, however, has an independent local planning process that

FERC approved separately from the SPP planning process. GridLiance Protest at

31, JA103; GridLiance Rehearing Request at 11-12, JA337-38.

      Thus, under the preexisting Tariff, if a utility identified local reliability

projects through its local planning criteria, those costs could be allocated to the

utility’s Zone because adherence to local planning criteria confers benefits to the

Zone. However, the only component of local planning criteria SPP studied were

voltage criteria more stringent than SPP’s own voltage criteria. Holland Aff. ¶¶ 11-


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12, JA109. Other criteria that drive an individual Transmission Owner’s local

planning criteria were—and are still—not considered. Id. ¶¶ 13, 17, JA110-11.

However, because “SPP’s focus is on regional planning,” SPP did not “utilize any

specific local models or local-specific scenarios that are needed to ensure local

reliability.” Id. ¶ 19, JA111.

             2. 2020 SPP Filing

      In 2020, SPP proposed revisions to its Tariff under FPA section 205 to

establish uniform local transmission planning criteria, or “Zonal Planning Criteria”

within each Zone. See Sw. Power Pool, Inc., Submission of Tariff Revisions to

Establish Zonal Planning Criteria, Docket No. ER20-2334-000 (July 7, 2020) (2020

SPP Proposal). Specifically, SPP proposed that the Network Customer with the

largest total Network Load in each Zone designate a Transmission Owner as the

“Facilitating Transmission Owner” responsible for developing a single set of Zonal

Planning Criteria for the Zone by April 1 of each year. FERC identified several fatal

flaws with the 2020 SPP Proposal and rejected it as unjust and unreasonable. Sw.

Power Pool, Inc., 172 FERC ¶ 61,202 (2020) (2020 SPP Order).

      First, under the 2020 SPP Proposal, the Network Customer with the largest

total Network Load in its Zone would have had sole authority to designate a

Facilitating Transmission Owner, which, as FERC noted, “could be the Network

Customer itself … or a transmission-owning affiliate.” Id. P 40. And because it



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would have had the unilateral authority to establish Zonal Planning Criteria, the

Facilitating Transmission Owner could have chosen to select Zonal Planning Criteria

to address its own local reliability needs and allocate the cost of any resulting Zonal

Reliability Upgrades to all customers in the Zone. Id.

      Second, FERC found the 2020 SPP Proposal unduly discriminatory against

Transmission Customers in the Zone that either did not serve the largest share of

load or that were not the Facilitating Transmission Owner. Id. P 41. Except for

allowing such customers’ attendance at “open meeting(s),” the 2020 SPP Proposal

provided no formal process rights to influence the Facilitating Transmission Owner.

Id. Moreover, SPP, “the independent entity administering the regional transmission

planning process where the Zonal Planning Criteria would be used, propose[d] to

take no rule in ensuring that input from other … stakeholders in the zone [were]

considered during the development of the Zonal Planning Criteria.” Id. The

Facilitating Transmission Owner would have sole authority to establish Zonal

Criteria that SPP would “accept without revision.” Id.; see also id. n.68 (“SPP’s

proposed Tariff language places ultimate responsibility for the development of Zonal

Planning Criteria on the Facilitating Transmission Owner.”).

      Lastly, SPP’s proposed Tariff language was ambiguous and “could be read as

requiring Transmission Owners to use the Zonal Planning Criteria for all purposes,

which would infringe on the ability of individual Transmission Owners to use their


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separate local transmission planning processes outside of the regional transmission

planning process.” Id. (emphasis added).

      C. Proceedings Below

      On April 29, 2022, SPP again proposed Tariff revisions to establish Zonal

Planning Criteria for its transmission planning process (2022 SPP Proposal). JA001.

As with the 2020 SPP Proposal, SPP proposed that the largest Network Customer in

each Zone appoint a Facilitating Transmission Owner responsible for annually

developing a single set of Zonal Planning Criteria. 2022 SPP Proposal at 11, JA011.

Each Zone’s Facilitating Transmission Owner will hold “open meeting(s)” each year

to discuss the Zonal Planning Criteria. Id. at 12, JA012. Only Transmission Owners

and those Transmission Customers receiving Long-Term Service to serve load

within the Zone will participate in such meetings, although “any entity desiring to

discuss the development and subsequent modification of Zonal Planning Criteria”

could also attend. Id.

      Under the 2022 SPP Proposal, each Transmission Owner and Transmission

Customer receiving Long-Term Service to serve load within the Zone can submit

proposed Zonal Planning Criteria to the Facilitating Transmission Owner by May 1

of each year.    Id.     Next, the Facilitating Transmission Owner posts all such

submissions it receives along with draft Zonal Planning Criteria for comments from

any interested parties within the Zone by June 1. Id. After receiving input, the



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Facilitating Transmission Owner posts final draft Zonal Planning Criteria, considers

any additional comments, and schedules an “open meeting” that—for each Zone

other than Zone 19—utilizes a two-step voting system to either approve or reject the

proposed Zonal Planning Criteria. Id. at 12-13, JA012-13.

       Step one of SPP’s proposed two-step voting mechanism incorporates a “load-

weigh[t]ed vote of all Transmission Customers receiving Long-Term Service to

serve load in that Zone based on the prior calendar year’s 12 month peak load in that

Zone.” Id. at 13, JA013. Specifically, this stage requires “a percentage of vote to

approve greater than or equal to the largest load in the Zone plus one-half of the

remainder of the load in the Zone.” Id. Step two requires a simple majority approval

from all Transmission Owners and Transmission Customers receiving Long-Term

Service to serve load within the Zone. Id. Entities that are both Transmission

Owners and Transmission Customers receive only one vote at this stage, as do

affiliated entities. Id.

       The 2022 SPP Proposal excludes Zone 19 from the two-step voting process,

however, because it “has already developed a stringent, pre-existing consensus

voting process” that utilizes a single vote requiring a 75% consensus among

Transmission Owners and Transmission Customers that receive Long-Term Service

to serve load within the Zone. Id. at 15, JA015. Thus, Zone 19 takes “a first vote

component by Transmission Customers taking Long-Term Service to serve load in


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Zone 19 based upon weighted load in the Zone, and a second vote component by

Transmission Owners in the Zone based upon gross Zonal Annual Transmission

Revenue Requirement.” Id. Zone 19 must adhere to the remainder of the 2022 SPP

Proposal. Id.

      For each Zone, the Facilitating Transmission Owner must send a report with

minutes from all “Zonal Planning Criteria meeting(s)” to SPP by March 1 and the

approved Zonal Planning Criteria by April 1 of each year. Id. at 13-14, JA013-14.

If the Zone fails to establish such Zonal Planning Criteria, SPP will use the most

recently approved Zonal Planning Criteria it received or, if no Zonal Planning

Criteria has been previously approved, then SPP will use its own Planning Criteria.

Id. at 14, JA014.

      Petitioners, along with Intervenor Oklahoma Gas & Electric Company

(OG&E), protested the Tariff amendments as unjust, unreasonable, and unduly

discriminatory and preferential under FPA section 205. FERC rejected Petitioners’

objections and accepted SPP’s Tariff revisions in the June 28 Order. JA242.

      On rehearing, Petitioners argued that the June 28 Order was unlawful because

it: (1) will cause inequitable cost allocation among Transmission Owners, in

violation of the cost causation principle announced by this Court in ODEC;

(2) accepted an unworkable and inequitable two-step voting scheme that also

conflicted with precedent; (3) impermissibly shifted the burden of proof from SPP


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to Petitioners; and (4) imposed unduly burdensome administrative burdens

Transmission Owners without compensation. See Indicated SPP Transmission

Owners Rehearing Request (hereinafter, Evergy Rehearing Request) at 1-4, JA269-

72; GridLiance Rehearing Request at 1-4, JA327-30.

      Petitioners further argued the June 28 Order was arbitrary and capricious

under the APA because it was based on erroneous factual assumptions, contravened

prior FERC precedent, allowed SPP to abdicate its transmission planning duties as

an RTO, and would undermine reliability in SPP. Evergy Rehearing Request at 1-

4, JA269-72; GridLiance Rehearing Request at 1-9, JA327-35.

      On August 29, 2022, FERC denied all rehearing requests by operation of law.

JA386. Later, on October 20, 2022, after FERC’s initial statutory period had lapsed,

FERC issued a substantive order denying rehearing. See Modification Order at P 2,

JA391. FERC found SPP’s proposed two-step voting process just and reasonable

because it does not allow any single entity to “force a particular set of Zonal Planning

Criteria to be adopted without consensus.” Id. P 22, JA404. FERC conceded that

“a small group of transmission customers or even a single transmission customer”

could “vote against the proposed Zonal Planning Criteria in step one and thus

prevent their adoption,” but found that did not matter because larger customers and

Transmission Owners could do the same thing. Id. The Modification Order

concluded that SPP’s Tariff revisions neither violate the cost causation principle nor


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threaten reliability because SPP’s existing regional planning criteria will apply to

any Zone that fails to adopt Zonal Planning Criteria. Id. PP 42, 44, JA417-18,

JA420. FERC also rejected Petitioners’ argument that its acceptance of SPP’s voting

structure represented a departure from FERC precedent. Id. PP 63-64, JA432-34.

      FERC conceded that the Tariff revisions would give SPP “a more limited role

in the Zonal Planning Criteria Development Process,” but excused that “more

limited role” because its Tariff revisions include “specific protections against undue

discrimination and undue preference.” Id. P 63, JA432-33. FERC also found the

“potential burdens” on each Zone’s Facilitating Transmission Owner from the SPP

Proposal “reasonable in light of the importance of ensuring participation and

transparency in the transmission planning process.” Id. P 71, JA438.

      FERC also did not agree that the June 28 Order unlawfully shifted the burden

to Petitioners. Id. P 50, JA424. Although FERC rejected Petitioners’ arguments on

the ground that “no evidence has been presented” that all zonal customers would

benefit from any particular zonal project, FERC claimed on rehearing that it “did not

shift the burden to protesters to make any showing, but rather referred to the evidence

in the record as a whole.” Id. FERC rejected Petitioners’ argument that it should

have rejected SPP’s proposed Tariff revisions in light of the pending Planning

NOPR. Id. P 72, JA438.

      These consolidated petitions for review followed.


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                       SUMMARY OF THE ARGUMENT

      This Court’s precedents do not permit FERC to categorically “prohibit cost

sharing for any project included in [a] Regional Plan only to satisfy individual

utilities’ planning criteria.” ODEC, 898 F.3d at 1257. Nevertheless, that is precisely

what the 2022 SPP Orders will do. The 2022 SPP Orders will systematically prevent

transmission projects that benefit multiple entities in a Zone from being eligible for

cost sharing. That is because the 2022 SPP Proposal relies on a convoluted, two-

step voting mechanism that requires near unanimity within each Zone to approve

Zonal Planning Criteria and directly assigns the costs of local transmission projects

identified outside that Zonal Planning Criteria process. This will ensure gridlock

and encourage free riding as certain entities—whether Transmission Owners or

Transmission Customers—exercise newly-gifted veto rights to reap the benefits of

new transmission projects without helping to pay for them.

      Worse, FERC summarily cast aside Petitioners’ concerns with SPP’s Tariff

amendments and instead shifted the burden of proof from SPP to Petitioners, a

blatant violation of both the FPA and APA. FERC also accepted SPP’s proposal to

impose burdensome new planning responsibilities on Facilitating Transmission

Owners without providing compensation, contravening not only the FPA’s

requirement that rates be just and reasonable but also the Fifth Amendment. Jersey

Cent. Power & Light Co. v. FERC, 810 F.2d 1168, 1175 (D.C. Cir. 1987).



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      These statutory and constitutional violations, while serious in their own right,

were not FERC’s only missteps.           FERC also contravened basic reasoned

decisionmaking requirements under the APA: FERC based its decision on a patently

false factual premise it refused to correct; allowed SPP to abdicate its planning

responsibilities as an RTO contrary to FERC regulations; departed without

justification from its prior precedent; and deliberately ignored the adverse impacts

the 2022 SPP Proposal will have on the reliability of the SPP transmission system.

These failures were arbitrary and capricious and require vacatur in their own right.

      Lastly, nothing in the FPA requires Petitioners to file new petitions for review

to obtain review of orders issued after their original petitions for review were filed.

The amendment of existing petitions to include orders issued after FERC’s statutory

rehearing deadline is sufficient. New petitions add significant and unnecessary

burdens for both the parties and the Court without producing any benefits. This

Court wisely ceased FERC’s longstanding practice of issuing tolling orders as a

means of delaying judicial review and should now clarify that parties may amend

their petitions to obtain review of orders FERC issues after petitions have been filed.

                                    STANDING

      Petitioners have standing. Petitioners have “demonstrate[d] an actual or

imminent injury that is fairly traceable to the challenged agency action and that will

likely be redressed by a favorable decision.” Pub. Util. Dist. No. 1 of Snohomish



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Cnty. v. FERC, 272 F.3d 607, 613 (D.C. Cir. 2001) (citing Lujan v. Defs. of Wildlife,

504 U.S. 555, 560 (1992)).

      The orders below “directly regulate” Petitioners’ conduct as SPP

Transmission Owners. E.g., Corbett v. TSA, 19 F.4th 478, 483 (D.C. Cir. 2021);

Advocates for Highway & Auto Safety v. Fed Motor Carrier Safety Admin., 41 F.4th

586, 594 (2022). The orders below injure Petitioners by eliminating their previous

access to zonal cost allocation for regionally beneficial projects, undermining

reliability, and imposing administrative mandates without compensation. See infra

at 25-37, 42-45, 51-53. Vacatur of the 2022 SPP Orders would redress these injuries.

                             STANDARD OF REVIEW

      The Court must “set aside” any agency order that is “arbitrary, capricious, an

abuse of discretion, or not otherwise in accordance with law.” 5 U.S.C. § 706(2).

“FERC—like all agencies—must engage in reasoned decisionmaking” and

“examine the relevant data and articulate a satisfactory explanation for its action

including a rational connection between the facts found and the choice made.” New

Eng. Generators Ass’n, Inc. v. FERC, 881 F.3d 202, 210 (D.C. Cir. 2018) (NEPGA)

(quoting Motor Vehicle Mfrs. Assn v. State Farm Mut. Auto Ins. Co., 463 U.S. 29,

43 (1983)). Although FERC need not “allocate costs with ‘exacting precision,’” the

Court must “set aside cost allocations that are either unreasonable or inadequately

explained.” LIPA, 27 F.4th at 712 (quoting ODEC, 898 F.3d at 1260 (listing



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examples from this Court and sister courts where FERC cost allocations have been

reversed on these grounds)).

      Moreover, FERC must “respond meaningfully to the arguments raised before

it,” TransCanada Power Mktg. Ltd. v. FERC, 811 F.3d 1, 12 (D.C. Cir. 2015)

(citation omitted). Unless FERC “answers objections that on their face seem

legitimate, its decision can hardly be classified as reasoned.” Canadian Ass’n of

Petroleum Producers v. FERC, 254 F.3d 289, 299 (D.C. Cir. 2001). FERC’s fact

findings must in turn be based on substantial evidence that, at a minimum, “supports

the Commission’s ultimate decision.” Fla. Gas Transmission Co. v. FERC, 604 F.3d

363, 645 (D.C. Cir. 2010) (citing Fla. Mun. Power Agency v. FERC, 315 F.3d 362,

368 (D.C. Cir. 2003)).

      FERC must also “provide a reasoned explanation for departing from

precedent or treating similar situations differently.” W. Deptford Energy, LLC v.

FERC, 766 F.3d 10, 20 (D.C. Cir. 2014) (cleaned up). Although FERC “need not

demonstrate to a court’s satisfaction that the reasons for [a] new policy change are

better than the reasons for the old one,” it must “ordinarily … display awareness that

it is changing position.” NEPGA, 881 F.3d at 210 (quoting FCC v. Fox Television

Stations, Inc., 556 U.S. 502, 515 (2009)) (alterations in original). FERC therefore

“may not … depart from a prior policy sub silentio or simply disregard rules that are

still on the books.” Id. (quoting Fox Television, 556 U.S. at 515).


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                                    ARGUMENT

I.    FERC Violated Core Requirements Under FPA Section 205

      A. FERC Unlawfully Accepted Tariff Provisions that Will Systematically
         Exclude Zonally Beneficial Projects from Zonal and Regional Cost
         Allocation in Violation of the Cost Causation Principle

      FPA section 205 requires all FERC-jurisdictional rates to be “just, reasonable,

and not unduly discriminatory or preferential.” 16 U.S.C. § 824d. This statutory

mandate incorporates the cost causation principle, which “requires comparing the

costs assessed against a party to the burdens imposed or benefits drawn by that

party.” ODEC, 898 F.3d at 1260. In the context of transmission cost allocation,

“the cost-causation principle focuses on project benefits, not on how particular

planning criteria were developed.” Id. at 1262. In ODEC, this Court established the

proposition that it is not just and reasonable for FERC to categorically “prohibit cost

sharing for any project included in [a] Regional Plan only to satisfy individual

utilities’ planning criteria.” Id. at 1257; accord Pub. Serv. Elec. & Gas Co. v. FERC,

989 F.3d 10, 17 (D.C. Cir. 2021) (“FERC is not allowed to exempt all reliability

projects from cost sharing ….”).

      In its recent opinions applying ODEC, this Court has reiterated that, “[e]ven

if the intended purpose of a transmission project is to fix a reliability problem in one

zone, that does not mean its benefits will be limited to that zone.” Coal. of MISO

Transmission Customers v. FERC, 45 F.4th 1004, 1019 (D.C. Cir. 2022).



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Transmission project benefits are not “confined to the artificial boundaries of the

local pricing zone” due to “the interconnected nature of the grid.” Id. Thus, “in

order for a cost allocation method to be consistent with the cost causation principle,

such method cannot ‘prevent[] regionally beneficial projects from being arbitrarily

excluded from cost sharing.’” Entergy Ark., LLC v. FERC, 40 F.4th 689, 701 (D.C.

Cir. 2022) (quoting ODEC, 898 F.3d at 1263);

      Nevertheless, that is exactly what FERC’s orders below authorize SPP to do.

The 2022 SPP Proposal will arbitrarily, and systematically, prevent regionally

beneficial projects identified by an individual utility’s planning criteria from being

included in regional or zonal cost sharing. The express purpose of SPP’s proposal

was to modify the zonal planning process to prevent “zonal cost allocation for

transmission facilities that address individual transmission owners’ local planning

criteria unless those facilities are also needed to address zonal transmission needs

driven by SPP’s regional planning criteria.” Modification Order P 42, JA417-18.6

SPP accomplished this purpose by instituting a byzantine, two-step voting process

for the adoption of Zonal Planning Criteria that ensures such criteria will not be

adopted absent an infeasible degree of zonal “consensus” approaching unanimity.



      6
         The Tariff changes filed by SPP largely consist of striking terms like
“company-specific planning criteria,” “local area planning criteria,” “individual
Transmission Owner criteria,” “local area reliability criteria,” and “Local Planning
Criteria” to replace those terms with “Zonal Planning Criteria.” JA027-49.

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      In the Zones where Evergy operates, SPP’s voting rules would allow any

utility to veto the adoption of Zonal Planning Criteria.           See Indicated SPP

Transmission Owners Protest (hereinafter, Evergy Protest) at 10-12, JA128-30;

Evergy Rehearing Request at 14-16, JA282-84. This is an invitation to free riding

by Transmission Customers, who have every incentive to exercise that veto power

to reap the benefits of Zonal Reliability Upgrades without paying for them. Thus,

Evergy projects will be denied zonal cost allocation unless other utilities voluntarily

act contrary to their economic self-interest.

      Evergy and GridLiance, like all other Transmission Owners, have statutory

and regulatory obligations to maintain a reliable transmission system, develop

planning criteria to meet those obligations, and construct projects based upon those

criteria and obligations. Those responsibilities do not go away even if other utilities

in the Zone vote to eliminate those criteria and revert to the minimal SPP criteria

because each Transmission Owner will still need to construct projects to maintain

reliability. The other utilities in the Zone who benefit from these reliability projects

know this and can now force 100% of the costs on the constructing Transmission

Owner’s customers by merely vetoing proposed Zonal Planning Criteria and

reverting back to SPP’s minimal planning criteria which, as amended below, prevent

the possibility of zonal cost recovery by eliminating all references to SPP’s reliance

on local planning criteria in the regional planning process. See supra note 6. Before


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now, no single utility had the ability to block projects at any level of the SPP

planning process when a project was shown to provide zonal or regional benefits.7

It is incompatible with ODEC and subsequent precedent for FERC to accept Tariff

provisions that will systematically exclude projects from zonal cost allocation.

      The problem is even worse for GridLiance as a transmission-only utility that

lacks retail customers because GridLiance is dependent on dominant load-serving

Facilitating Transmission Owners to propose Zonal Planning Criteria. Thus, like

Evergy, GridLiance will not be able to obtain regional cost allocation for projects

that benefit other utilities in the Zones where it operates unless those entities choose

to pay for benefits that FERC will now let them have for free. Unlike Evergy,

GridLiance has no retail customers that could be directly assigned project costs.

GridLiance therefore would have no way to recover the costs of necessary

transmission projects identified by its local planning process. See GridLiance

Rehearing Request at 11-12, JA337-38.

      Still worse, FERC denied requests for clarification “that transmission owners

without retail customers that elect to continue to use their own local planning criteria

instead of the Zonal Planning Criteria adopted in their zones would be able to

continue to recover their costs through the zonal annual transmission revenue



      7
        Interestingly, SPP does not hold itself to this same standard. It does not
permit any single entity to block its own decisions about regional cost allocation.

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requirement” because that “contravenes both the purpose of SPP’s proposal and the

language of section II.5.j of Attachment O.” Modification Order P 54, JA427-28.

That Zonal Annual Transmission Revenue Requirement is the only way shareholders

in merchant transmission companies like GridLiance and ITC Great Plains (a

transmission-only utility that joined Evergy in the Indicated SPP Transmission

Owners pleadings below) can recover their costs from Transmission Customers.

Nevertheless, FERC held that it “contravenes both the purpose of SPP’s proposal

and the language of section II.5.j of Attachment O” to permit transmission-only

utilities to recover the costs of transmission projects built to comply with local

planning processes that FERC itself has specifically approved GridLiance to use. In

short, SPP’s Tariff revisions specifically eliminate zonal cost allocation for projects

identified pursuant to a FERC-approved local planning process outside of the new

Zonal Planning process, without regard for zonal benefits.

      FERC has offered various excuses for failing to adhere to ODEC and this

court’s other precedents, each of which lacks merit. FERC initially claimed ODEC

was distinguishable because it involved a category of high voltage projects that

FERC had conceded would confer regional benefits. See June 28 Order at P 56,

JA264; Evergy Rehearing Request at 11, JA279. Petitioners explained this cramped

interpretation effectively limited ODEC to its specific facts. Id. at 11-12, JA279-80;

GridLiance Rehearing Request at 10-11, JA337-38.            The Modification Order


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retreated from FERC’s initial position but offered a new theory that ODEC is

inapplicable because there is no evidence that transmission projects developed

through local planning criteria could ever provide zonal or regional benefits. See,

e.g., Modification Order at P 47, JA422.        FERC’s position is belied by its

acknowledgement of record evidence that 26 Zonal Reliability Upgrades were

identified under local planning criteria between 2011 and 2020. Id. Moreover,

FERC’s rationale unlawfully shifts the burden of proof under section 205 of the FPA

from SPP as the filing utility to the Petitioners, see infra at 37-42, and is based on

an arbitrary and capricious fundamental misunderstanding of the Tariff’s planning

provisions, see infra at 45-47.

      FERC cannot wish away the fact that local planning processes can, and do,

identify projects with zonal benefits that cannot be identified under SPP’s Planning

Criteria. 8 Denying cost allocation for such projects cannot be squared with the cost

causation principle. See Evergy Protest at 14-15, JA132-33; Evergy Rehearing



      8
        The map supra at 12 graphically demonstrates the degree to which certain
embedded Transmission Owners will naturally derive benefits from system upgrades
simply because of their “electrical proximity.” LIPA, 27 F.4th at 713; accord Coal.
of MISO Transmission Customers, 45 F.4th at 1019 (“The notion that the benefits of
a new transmission facility are confined to the artificial boundaries of the local
pricing zone ignores the interconnected nature of the grid.”) (cleaned up). For
example, the system operated by the City of Independence in Zone 6 will inevitably
benefit from reliability projects constructed by Evergy Metro within that Zone as
well as projects constructed by Evergy Missouri West in Zone 9 because the City of
Independence is entirely surrounded by Evergy transmission facilities.

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Request at 6-9, JA274-77; GridLiance Protest at 13-15, JA085-87; GridLiance

Rehearing Request at 9, JA335; OG&E Protest at 14-15, JA159-60; OG&E

Rehearing Request at 17-18, JA322-23.

      FERC also contended that it did not violate ODEC because it “disagrees” that

utilities will fail to unanimously agree on Zonal Planning Criteria. Modification

Order at P 46, JA421. FERC could only be right if it is reasonable to believe utilities

will act contrary to their economic self-interest; but FERC itself does not appear to

believe any such proposition. FERC argues that

      disallowing zonal cost allocation for facilities that are ‘exclusively’
      identified as needed under an individual transmission owner’s local
      planning criteria appropriately abates the incentive transmission
      owners otherwise have, as rational economic entities, to develop
      upgrades that solely or disproportionately benefit their own customers
      but whose costs can be allocated on a zonal basis.
Modification Order at P 51, JA425-26 (footnote omitted) (emphasis added).

Ironically, FERC cites the same precedents concerning its need to account for

economic incentives that Evergy invoked to support its request for rehearing.

Compare Modification Order at n.161, JA426, with Evergy Rehearing Request at

17, JA285. FERC’s position that the voting process for approving Zonal Planning

Criteria will not deadlock because it was intended to promote “transparency” is, at

best, wishful thinking. See infra at 32-33. It is not a defensible reason to violate the

cost causation principle. In reality, FERC’s 2022 Orders invert and exacerbate the

very problem that led FERC to reject the 2020 SPP Proposal.


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            1. FERC Irrationally Accepted a Broken “Transparency”
               Remedy to Solve a Non-Existent Cost Allocation Problem

      FERC justified its acceptance of SPP’s Tariff revisions in part on SPP’s

proffered goal of promoting greater “transparency” to solve a perceived risk that

dominant Facilitating Transmission Owners might abuse their positions to build

projects that “disproportionately benefit” the Facilitating Transmission Owner and

its customers. Modification Order at PP 45, 51, JA420-21, 425-26. Neither SPP nor

FERC provided any evidence to substantiate that risk. Indeed, as Evergy and

GridLiance explained, that problem did not actually exist before SPP submitted its

Tariff revisions, and the cure FERC accepted was significantly more destructive than

the purported disease.     See, e.g., Evergy Rehearing Request at 24, JA292;

GridLiance Protest at 15, JA087.      That is why, contrary to FERC’s flowery

statements regarding SPP’s stakeholder process, SPP’s proposal actually failed at

the SPP Markets and Operations Policy Committee, SPP’s only full stakeholder

representation group. See GridLiance Protest 1-2, JA073-74.

      To the extent a Facilitating Transmission Owner were to propose Zonal

Planning Criteria that might “disproportionately benefit” the Facilitating

Transmission Owner or its customers—and, again, there is no evidence in this record

to suggest that ever occurred—the previous rules already solved that concern

because Zonal Reliability Upgrades are “allocated to all load in the Zone based on a

Load Ratio Share, regardless of which Transmission Owner’s criteria resulted in

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construction of the upgrade.” SPP Transmittal Letter at 10 & n.45, JA010 (citing

Tariff definitions); see June 28 Order at P 2, JA243. As a result, the benefits

associated with Zonal Reliability Upgrades were already consistent with cost

causation and the beneficiary pays principle.

             2. FERC Irrationally Inverted and Exacerbated Concerns About
                Zonal Planning Coordination By Disregarding Petitioners’
                Arguments, Endorsing Inconsistent Treatment Between Zones,
                and Failing to Distinguish Relevant Precedent

      Petitioners established that SPP’s new voting procedures will create gridlock

in numerous Zones, including those where Petitioners operate.             See Evergy

Rehearing Request at 14-16, JA282-84 (emphasizing that any utility can veto

proposals); GridLiance Rehearing Request at 10, JA082 (emphasizing that “the

largest load can unilaterally choose that no local planning will be performed through

SPP’s process in a given zone”). FERC did not dispute this concern, but instead

offered the conclusory assertion that it did “not agree that the Tariff provisions will

‘impede the adoption of Zonal Planning Criteria,’ or undermine transmission

planning goals, given that they are designed to have the opposite effect.”

Modification Order at P 64, JA433-34 (quoting Evergy Rehearing Request at 30,

JA298). FERC made no attempt to balance the certainty of planning gridlock against

the theoretical benefits of pursuing “consensus.”

      FERC nonetheless accepted SPP’s new byzantine two-step voting scheme that

will systematically cause significant dislocation throughout the SPP region. FERC’s

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acceptance was inconsistent with the June 28 Order’s acceptance of a more effective

voting system to prevent gridlock in Zone 19 and FERC’s recent approval of voting

reform measures in a larger RTO, PJM Interconnection, L.L.C. (PJM), to prevent

small utilities from vetoing transmission rate proposals supported by Transmission

Owners who own 98% percent or more of the PJM transmission system—which,

coincidentally, is the same as Evergy’s ownership in Zone 9. See, e.g., Evergy

Protest at 20-22, JA138-40; June 28 Order at P 22, JA252 (noting OG&E’s argument

that 95% support would be required in Zone 7).           FERC dismissed Evergy’s

objections as “alternatives” that it “did not need to consider” under FPA section 205.

Modification Order at PP 14, 24, JA397-98, 405. Not so. In presenting different

voting mechanisms that would not instantly create gridlock in numerous multi-

Transmission Owner Zones, Evergy was merely illustrating the flaws in SPP’s Tariff

amendments and showing that those flaws were avoidable, inconsistent with recent

precedent, and unjust and unreasonable.

      For example, SPP exempted Zone 19 from the new voting rules and allowed

it to retain its own two-step voting system. “The threshold for adopting the Zonal

Planning Criteria in the Zone 19 voting process is 75% of the single vote and no

single entity can account for over 33% of the weighted vote relating to either vote

component.” June 28 Order at P 10, JA248. Petitioners argued this difference was

unduly discriminatory because Zone 19 Transmission Owners “face the same


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challenges and circumstances as their counterparts [in] other Zones.” Evergy

Rehearing Request at 32, JA300. FERC rejected that argument on the ground that

Transmission Owners in Zone 19 are not “similarly situated” to Transmission

Owners in other Zones because Zone 19 independently adopted consensus planning

rules before SPP filed its new voting rules; thus, in FERC’s view, “exempting Zone

19 from the two-step voting process constituted comparable treatment in the

transmission planning process.” Modification Order at P 57, JA429.

      That is not a sensible response to Petitioners’ objections; it is instead a defense

of blanket punishment for utilities stuck in heavily imbalanced Zones. The treatment

of Zone 19 is obviously not “comparable” to the treatment of other Zones. For

example, the Zone 19 voting structure does not permit individual entities

representing less than 2% of the Zone to veto Zonal Planning Criteria because, unlike

other Zones, Zone 19 does not require “a percentage of vote to approve greater than

or equal to the largest load in the Zone plus one-half of the remainder of the load in

the Zone.” JA013. If one accepts FERC’s premise that the absence of consensus

was a problem that needed to be cured, then FERC did nothing to improve the

situation by providing small entities with extraordinary voting power. Worse,

contrary to FERC’s representation that “any other zone may request proposed Tariff

revisions to implement a voting process in lieu of the two-step voting process in

Attachment O,” Modification Order at P 57, JA429, it is not feasible to alter the


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voting rules SPP has imposed. The same voting rules that make it impossible to

adopt Zonal Planning Criteria also make it impossible to modify the voting rules.

      FERC also failed to rationally distinguish its precedent approving load-

weighted voting mechanisms in RTOs. Just months before the June 28 Order, FERC

accepted a series of amendments to the PJM Consolidated Transmission Operating

Agreement (CTOA), which governs voting among PJM’s Transmission Owners on

proposed PJM Tariff amendments concerning transmission planning and cost

allocation. Pub. Serv. Elec. & Gas Co., 179 FERC ¶ 61,001, at P 1 (2022) (PSEG).

In that case, the major utilities that formed PJM sought to change their voting rules

because a substantial influx of very small Transmission Owners in recent years made

it infeasible for the major utilities in PJM to pass proposals based on a 2/3 individual

vote requirement despite the fact that such new Transmission Owners owned a tiny

fraction of the region’s transmission facilities. Id. P 6. To remedy this problem, the

PJM Transmission Owners altered their agreement to provide that individual vote

approval by a simple majority or 2/3 majority is not required when the load-weighted

vote exceeds 95%. Id. P 7. FERC accepted these amendments, noting that “the

proposed CTOA revisions will help prevent entities with relatively small

transmission investments from using that stake to prevent filings that are supported

by the Transmission Owners with substantial investment in the PJM transmission

system.” Id. P 20.


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      FERC’s acceptance of SPP’s proposed voting scheme contravened its recent

precedent in PSEG, but FERC denied the existence of a conflict. Thus, FERC failed

to distinguish its holding about an equivalent rule in a peer RTO, and that is a

reversible error. See, e.g., NEPGA, 881 F.3d at 211-13 (reversing FERC orders that

failed to reconcile material differences in rules between two RTOs).

      B. FERC Unlawfully Shifted the Burden of Proof from SPP to Petitioners

      FPA section 205 places the burden of proof on the proponent of a rate change.

See 16 U.S.C. § 824d(e); In re NTE Conn., LLC, 26 F.4th 980, 989-90 (D.C. Cir.

2022) (citing Ala. Power Co. v. FERC, 993 F.2d 1557, 1571 (D.C. Cir. 1993)). The

APA is no different. See 5 U.S.C. § 556(d); Dir., OWCP v. Greenwich Collieries,

512 U.S. 267, 275-76 (1994). As FERC recently explained in another SPP order,

“where a filing is made under section 205 of the FPA, the burden of proof is on the

filing party to show that its proposal is just and reasonable; the onus is not on

protestors to show that the proposal is unjust and unreasonable.” Sw. Power Pool,

Inc., Op. No. 579, 180 FERC ¶ 61,192, at P 53 & n.125 (2022) (cleaned up). The

party seeking a rate change must therefore provide sufficient evidence to establish a

prima facie case, after which the burden shifts to the opposing party to rebut the

prima facie case. Id. At bottom, however, “[t]he ultimate burden of persuasion …

remains with the proponents,” who will either “prevail if a preponderance of




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evidence supports their position” or “lose ‘if the evidence is evenly balanced.’” Id.

(quoting Greenwich Collieries, 512 U.S. at 272).

      In the proceeding below, SPP filed Tariff revisions it asserted were just and

reasonable. JA001-24. Petitioners demonstrated that the practical effects of SPP’s

Tariff amendments and proposed voting scheme would categorically exclude future

transmission projects from inclusion in SPP’s zonal and regional planning criteria

and thus render them ineligible for cost allocation, a plain violation of the cost

causation principle this Court articulated in ODEC. JA085-87, JA128-30.

      As previously discussed, the June 28 Order rejected Petitioners’ arguments

because

      no evidence has been presented indicating that transmission facilities
      needed to address only individual transmission owner local planning
      criteria in a multi-transmission owner zone confer benefits on other
      transmission owners or other transmission owners’ customers in the
      relevant zone sufficient to support a finding that the costs of such
      facilities must be allocated zonally.

June 28 Order at P 56, JA264 (emphasis added). Petitioners argued this “summary

dismissal” impermissibly shifted the burden of proof from SPP by requiring

protestors “to make some kind of empirical evidentiary demonstration that SPP’s

voting process would fail beyond identifying the obvious incentives it creates for

blocking Zonal Planning Criteria.” Evergy Rehearing Request at 3, 16-19, JA271,

JA284-87; see GridLiance Rehearing Request at 5-6, JA331-32 (listing cases).

GridLiance further asserted that FERC provided “only a single, summarily


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dismissive sentence to the pages of evidence and multiple examples of benefits that

local transmission projects, identified through a transmission owner’s own local

planning criteria, confer on other transmission owners or customers within a relevant

zone.” Id. at 9, JA335.

      The Modification Order rejected these arguments, claiming that FERC “did

not shift the burden of proof to the intervenors” for two reasons. Modification Order

at P 50, JA424; accord id. P 27, JA407.

      First, FERC claimed it “did not shift the burden to protesters to make any

showing, but rather referred to the evidence in the record as a whole” when it wrote

“that ‘no evidence has been presented’ that transmission facilities that address only

individual transmission owner local planning criteria in a zone comprised of multiple

transmission owners confer benefits on other transmission owners and customers in

the zone.” Id. P 50, JA424-25. That claim is false on its face. FERC explicitly

based its determination that SPP’s proposal was just and reasonable on the finding

that protestors failed to prove that zonal projects adopted through the existing

process “confer benefits on other transmission owners or other transmission owners’

customers in the relevant zone sufficient to support a finding that the costs of such

facilities must be allocated zonally.” June 28 Order at P 56, JA264. That is the

burden placed on complainants in an FPA section 206 proceeding, not what

protestors must show in an FPA section 205 proceeding. See FirstEnergy, 758 F.3d


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at 353. Moreover, contrary to FERC’s claim that there was “no evidence” the

existing system had produced zonal reliability projects that actually “confer

benefits,” Petitioners presented substantial and uncontroverted evidence that 26 such

projects are in service now. GridLiance Protest at 13-19, JA085-91; Evergy Protest

at 10-12, JA128-30. FERC simply disregarded that evidence.

      Indeed, FERC continues to place the evidentiary burden on Petitioners

because FERC did so again in the Modification Order, both before and after it

claimed it had not. For example, the sentence immediately preceding FERC’s

disclaimer rejected Petitioners’ reliance on ODEC because Petitioners did not

present evidence of “identified benefits or categorical exclusion” to demonstrate a

“violation of the cost causation principle.” Modification Order at P 49, JA424. The

paragraph immediately following FERC’s disclaimer removes any doubt FERC

demanded proof from the Petitioners, arguing that “the record does not show that

[transmission] facilities, planned under the prior SPP process, are likely to provide

significant benefits to other transmission owners and customers in a zone comprised

of multiple transmission owners.” Id. P 51, JA425; accord id. P 43, JA419-20

(“Indicated SPP TOs and GridLiance point to no evidence suggesting that upgrades

identified using transmission owners’ local planning criteria are likely to provide

benefits to other transmission owners and customers in a zone.”).




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      In short, FERC found SPP’s proposal just and reasonable because, in FERC’s

view, the Petitioners did not prove the pre-existing system was just and reasonable.

That is not the law. Existing rates on file at FERC are, by definition, just and

reasonable unless and until FERC sets those rates aside in a proceeding under FPA

section 206. See 16 U.S.C. § 824d; FirstEnergy, 758 F.3d at 353. It is thus bizarre

for FERC to question the validity of Petitioners’ evidence demonstrating that the 26

Zonal Reliability Upgrades placed into service under the pre-existing Tariff “are

likely to provide benefits to other transmission owners and customers in a zone.”

Modification Order P 43, JA419-20. The purpose of that evidence was to indicate

there would be an identifiable cost to modifying SPP’s Tariff in a manner that

categorically excludes consideration of cost allocation for projects built to address

individual utilities’ reliability criteria.    FERC ducked that important issue by

impermissibly inverting the burden of proof.

      Second, FERC claims that “SPP did not bear a particular burden of proof

because this aspect of its filing was not a proposal, but simply a right that

transmission owners always have.” Id. P 50, JA424-25. That is nonsense. The

unchanged “aspect” of SPP’s proposal was that utilities can, as always, decide to

build transmission projects that they themselves exclusively fund. Id. But the 2022

SPP Proposal is a rate change in and of itself that changed the status quo in important

ways by implementing a new direct assignment cost allocation methodology in


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Section II.5.j. That provision stripped Transmission Owners of their ability to have

their local reliability requirements considered for regional or zonal cost allocation

absent a degree of zonal “consensus” that effectively amounts to zonal unanimity.

See supra at 25-37. However, as explained above, the new rules make “consensus”

impossible in some Zones and the amended Tariff provides no avenue for project-

specific review or other means of recourse to obtain regional or zonal cost allocation

by demonstrating that a project will produce zonal and regional benefits.

      FERC’s argument in the Modification Order either entirely misunderstands

the rehearing argument or intentionally ignores it. It is not about the “right”

transmission owners have to construct upgrades, but the fact that SPP changed the

cost-allocation for projects built to satisfy local planning criteria, and the

Modification Order simply does not address this issue.

      In sum, neither of the reasons FERC gave to excuse itself from shifting the

burden of proof in this case survive scrutiny. This requires remand and vacatur. See

Greenwich Collieries, 512 U.S. at 276, 280-81 (affirming vacatur where agency

violated the APA by shifting the burden of persuasion).

      C. FERC Unlawfully Imposed Significant New Planning Burdens on
         Facilitating Transmission Owners Without Compensation

      Evergy explained that the excessive compliance burdens imposed by the 2022

SPP Proposal amount to unfunded mandates on each Zone’s Facilitating

Transmission Owner. Evergy Rehearing Request at 23, JA291; Evergy Protest at

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23-24, JA141-42. Planning criteria are vital to ensure reliable and safe transmission

service, and Transmission Owners accordingly expend significant time and

resources to develop them. Evergy Rehearing Request at 24, JA292.

      Nonetheless, FERC only responded to Evergy’s concerns by stating that any

“potential burdens” the Facilitating Transmission Owner would sustain from “taking

the lead in facilitating the process for developing Zonal Planning Criteria, are

reasonable in light of the importance of ensuring participation and transparency in

the transmission planning process.” Modification Order at P 71, JA438; see also

June 28 Order at P 58, JA265 (“[W]e acknowledge that the proposed process would

add to the administrative burden of the Facilitating Transmission Owner. We find,

however, given the need to ensure participation and transparency, it is reasonable

for Facilitating Transmission Owners, which we expect will usually be the

transmission owner with the largest load in the zone, to take the lead in facilitating

the process for developing Zonal Planning Criteria.”). But neither the Modification

Order nor the June 28 Order grappled with Evergy’s objections surrounding SPP’s

failure to compensate Facilitating Transmission Owners for the significant costs they

will incur in preparing Zonal Planning Criteria.

      It was insufficient for FERC to admit that the 2022 SPP Proposal imposes new

burdens on Facilitating Transmission Owners and summarily reject Evergy’s

concerns with the costs of those burdens by alluding to the nebulous benefits of


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“ensuring participation and transparency.” As Evergy explained, neither purported

benefit that FERC suggests was a problem before this proceeding. See supra at 32-

33; Evergy Rehearing Request at 24, JA292. FERC must “respond meaningfully to

the arguments raised before it,” TransCanada Power Mktg., 811 F.3d at 12, and

unless it “answers objections that on their face seem legitimate, its decision can

hardly be classified as reasoned.” NTE, 26 F.4th at 989 (quoting PPL Wallingford

Energy LLC v. FERC, 419 F.3d 1194, 1198 (D.C. Cir. 2005)). FERC concluded that

it is reasonable for SPP to impose compliance obligations on Facilitating

Transmission Owners, it did not answer whether it is reasonable to impose the costs

of complying with SPP’s new requirements on Facilitating Transmission Owners.

FERC “could not simply ignore” Evergy’s objections regarding the costs of SPP’s

compliance obligations that Facilitating Transmission Owners will uniquely bear,

id., and FERC’s decision to do so requires vacatur and remand.

      In addition to being insufficiently explained, FERC’s decision was also

substantively unlawful. The Fifth Amendment prohibits the federal government

from taking private property—including labor and services—without providing just

compensation. That constitutional requirement “coincides with” the FPA’s statutory

requirement that rates be just and reasonable. Jersey Cent. Power & Light Co. v.

FERC, 810 F.2d 1168, 1175 (D.C. Cir. 1987) (citing FPC v. Nat. Gas Pipeline Co.,

315 U.S. 575, 586 (1942)); accord Trunkline Gas Co. v. FERC, 880 F.2d 546, 552


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(D.C. Cir. 1989). This is also the same constitutional and statutory objective that the

cost causation principle is designed to satisfy in the context of transmission cost

allocation. FERC violated all of these principles by accepting SPP’s proposal to

impose a myriad of compliance mandates on Facilitating Transmission Owners

without providing any compensation for their services. Vacatur of the underlying

orders is therefore appropriate.

II.   FERC Failed to Engage in Reasoned Decisionmaking Under the APA

      A. FERC Premised Its Decision on a Fundamental Misunderstanding of
         SPP’s Proposal that FERC Declined to Correct

      FERC rested its case on its finding that “SPP’s planning criteria will

appropriately identify the transmission facilities that confer reliability benefits on

multiple transmission owners or transmission customers in the relevant Zone

because the criteria are consistent with NERC reliability standards and additional

requirements adopted by SPP.” June 28 Order at P 55, JA264. This conclusion is

patently false and cannot serve as a legitimate purpose for accepting SPP’s flawed

Tariff revisions.

      As explained in the Holland Affidavit, SPP “does not utilize any specific load

models or local-specific scenarios that are needed to ensure local reliability,” and its

regional planning criteria only consider Transmission Owners’ voltage criteria that

are more stringent than SPP’s. Holland Aff. ¶¶ 11-12, 19, JA109-10. Critically,

SPP’s regional planning criteria ignore numerous factors that Transmission Owners


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include in their local planning criteria to address unique local needs, including load

loss exposure calculations, voltage deviations, and load service requirements. Id.

¶ 17, JA110-11; see also OG&E Protest at 15 (“The SPP Planning Criteria are broad

and generic and, as applied to OG&E, would fail to account for the nuances of the

lower voltage … lines on OG&E’s system, which serve a material amount of load.”).

      Between 2011 and 2020, SPP identified 26 Zonal Reliability Upgrades based

on a Transmission Owner’s individual local planning criteria. Holland Aff. ¶ 14,

JA110.    Moreover, Evergy provided two examples of previous upgrades that

“provided reliability benefits not just to [Evergy] and [its] customers but other

Transmission Customers in the relevant Zones,” but “would never have been

identified under the SPP Planning Criteria.” Evergy Rehearing Request at 7, JA275.

      In spite of this evidence, FERC asserted that “no evidence” was put forth

“indicating that transmission facilities needed to address individual transmission

owner local planning criteria in a multi-transmission owner zone confer benefits on

other transmission owners or other transmission owners’ customers in the relevant

zone sufficient to support a finding that the costs of such facilities must be allocated

zonally.” June 28 Order at P 56, JA264. On rehearing, FERC simply repeated its

conclusion that Petitioners “point to no evidence suggesting that upgrades identified

using transmission owners’ local planning criteria are likely to provide benefits to

other transmission owners and zones.” Modification Order at P 44, JA420. In doing


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so, FERC not only ignored record evidence of projects that will be rendered

ineligible for cost allocation in SPP, but, as discussed supra at 37-42, also unlawfully

shifted the burden of proof from SPP to Petitioners.

      FERC’s orders are grounded in the erroneous assumption that SPP’s planning

criteria “will appropriately identify the transmission facilities that confer reliability

benefits on multiple transmission owners or transmission customers in the relevant

Zone.” June 28 Order at P 55, JA264. Because that error infects all of FERC’s

reasoning, FERC failed to “articulate a satisfactory explanation for its action

including a rational connection between the facts found and the choice made.” PPL

Wallingford, 419 F.3d at 1198 (cleaned up).

      B. The 2022 SPP Orders Arbitrarily and Capriciously Allow SPP to
         Abdicate Its Planning Responsibilities and Fail to Justify
         Inconsistencies with the 2020 SPP Order

      Petitioners have consistently emphasized that the 2022 SPP Proposal allows

SPP to abdicate any responsibility for the development of Zonal Planning Criteria.

This abdication is flatly inconsistent with the transmission planning obligations SPP

must perform under Order Nos. 1000 and 2000. See, e.g., Evergy Rehearing Request

at 26-30, JA294-98. FERC’s orders below dodged genuine engagement with this

issue, but FERC’s evasions cannot change the fact that SPP continues to play “no

role” in developing Zonal Planning Criteria in violation of FERC’s own regulations.

See 2020 SPP Order, 172 FERC ¶ 61,202 at P 40.



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      FERC concedes SPP will play a “limited role” in developing Zonal Planning

Criteria. Modification Order at P 63, JA432-33, but even that assertion is overstated.

Per FERC, the only time SPP might possibly participate would be a dispute over the

tabulation of the final vote on proposed Zonal Planning Criteria. See id. n.193,

JA433. Even then, SPP’s role is confined to designating a representative to confer

with a “representative of the Facilitating Transmission Owner for resolution on an

informal basis.” SPP Tariff, Attach. O, § II.5.d.i, JA037-38. Beyond that, SPP’s

role in the development of Zonal Planning Criteria remains entirely passive,

confined to receiving meeting notes, reports, and any approved criteria. Id. § II.5.a,

JA033. SPP is not involved in the creation, revision, or review of Zonal Planning

Criteria. Id. Nor is SPP responsible for the final decision to adopt or to reject any

criteria that might be approved. Id.

      FERC muddies the waters by noting that SPP will apply any approved Zonal

Planning Criteria that might actually be developed. See, e.g., Modification Order at

P 63, JA432-33. But the fact that SPP will apply Zonal Planning Criteria does not

mean SPP plays any part in developing them. Petitioners have shown, and FERC

has barely disputed, that SPP’s abdication of any role in developing the criteria

contravenes Order Nos. 1000 and 2000.

      FERC claims SPP met its obligations under Order Nos. 1000 and 2000

because the 2022 SPP Proposal addressed FERC’s concern that the 2020 SPP


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Proposal gave Facilitating Transmission Owners “sole control” over Zonal Planning

Criteria. See id. FERC asserts SPP remedied this problem by “providing meaningful

opportunities for stakeholder input” and reducing Facilitating Transmission Owners’

discretion. Id. (citing June 28 Order at P 46). Those statements are non-sequiturs.

Providing greater “transparency” and “coordination” in a stakeholder process

administered by Facilitating Transmission Owners may address FERC’s concerns

from 2020, but that does not mean SPP is meeting its obligations under FERC’s

planning rules to develop Zonal Planning Criteria. Indeed, SPP’s now has less

responsibility for zonal reliability because, as Petitioners have demonstrated, the

new voting rules effectively guarantee that it will be impossible to achieve consensus

Zonal Planning Criteria in several Zones, including those where Petitioners operate.

      FERC continues to obscure the fundamental inconsistency between its

rejection of the 2020 SPP Proposal and its acceptance of the 2022 SPP Proposal. If

Facilitating Transmission Owners must not have “sole control” over access to zonal

cost allocation then it cannot simultaneously be permissible for individual entities to

have “sole control” in the form of a unilateral veto over proposed Zonal Planning

Criteria. FERC merely exchanged one problem for another by empowering smaller

Transmission Owners and Transmission Customers to avoid any zonal cost

allocation by vetoing Zonal Planning Criteria, regardless of any benefits those

smaller entities might receive. Evergy Rehearing Request at 19-21, JA287-89.


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      The Modification Order ignored this concern once again by failing to provide

any rational explanation for the asymmetry between its rulings in 2020 and 2022. It

is irrational for FERC to insist the 2022 SPP Proposal is just and reasonable, and

that it will not “‘impede the adoption of Zonal Planning Criteria,’ or undermine

transmission planning goals, given that they are designed to have the opposite

effect.” Modification Order P 64, JA433-34. SPP’s intent cannot justify FERC

ignoring the manifest flaws in SPP’s design. Petitioners demonstrated that SPP’s

revisions will not, in fact, “encourage[e] stakeholders to work together toward

adopting Zonal Planning Criteria” in their respective Zones. Id.; see supra at 27-28.

FERC did not attempt to disprove Petitioners’ assessment that the inevitable effect

of SPP’s new voting requirements in their Zones would be gridlock. Nor did FERC

attempt to balance purported “transparency” benefits against the costs imposed by

planning gridlock: i.e., forcing Evergy to subsidize free riders and depriving

GridLiance of any opportunity for zonal cost recovery.

      FERC’s repeated failure to meaningfully engage that problem was arbitrary

and capricious. See PSEG Energy Res. & Trade LLC v. FERC, 665 F.3d 203, 208

(D.C. Cir. 2011). So, too, was FERC’s pretense of that the 2022 SPP Proposal did

not conflict with the 2020 SPP Order, Order No. 1000, and Order No. 2000. See W.

Deptford Energy, 766 F.3d at 20.




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      C. FERC Ignored the 2022 SPP Proposal’s Adverse Impacts on
         Reliability

      FERC also ignored substantial evidence regarding the adverse effects on

reliability that SPP’s Tariff revisions will cause.        Specifically, Petitioners

demonstrated that the Tariff amendments will disincentivize crucial transmission

investments and will encourage “lowest common denominator” localized planning

and expansion processes as Transmission Owners and Transmission Customers in

each Zone seek to save money on localized upgrades sponsored and constructed by

other Transmission Owners as local projects. Evergy Rehearing Request at 30,

JA298; Evergy Protest at 13, JA131; GridLiance Protest at 17, JA089. Because

utilities remain obliged to maintain reliability on their local systems regardless of

zonal consensus, SPP’s voting rules eliminate any incentive for individual utilities

to agree to Zonal Planning Criteria even when it would be more economically

efficient to develop a long-term, holistic solution that benefits all Transmission

Owners and Transmission Customers in the same Zone. Evergy Rehearing Request

at 30, JA298. This is a puzzling outcome given that FERC’s recent Planning NOPR

cautions that FERC prefers transmission plans that “right-size” transmission

planning in order to “more efficiently or cost-effectively address transmission needs

identified through Long-Term Regional Transmission Planning.” Planning NOPR

at P 399. But it is difficult to right-size transmission projects when SPP’s proposal

renders it “every man for himself” on cost responsibility. Here, by providing strong

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incentives to reject Zonal Planning Criteria, FERC will deprive SPP of “the

information necessary to identify the benefits regional transmission facilities may

provide in deferring or eliminating the need for in-kind replacements.” Id.

      Moreover, Petitioners demonstrated that SPP’s Tariff amendments would

result in the use of SPP’s regional planning criteria instead of individual

Transmission Owners’ more appropriately-tailored local planning criteria in Zones

that are unable to adopt Zonal Planning Criteria. Evergy Rehearing Request at 31,

JA299. These changes would also disrupt established Transmission Owner local

planning processes and make it extremely difficult for Transmission Owners to

preserve reliability. Id.

      FERC failed to meaningfully confront any of these concerns. Instead, FERC

cast them aside as “speculative,” arguing that “if the zone were unable to reach

agreement and defaulted to using the SPP regional planning criteria, the use of SPP

regional planning criteria would ensure the zone would still meet all NERC

reliability standards.” Modification Order at P 44, JA420. That is no answer to

Petitioners’ objections because NERC’s mandatory reliability standards are the

lowest common denominator for reliability. Those nation-wide rules are not

intended to, and do not, address enhanced reliability requirements driven by local

system conditions. For example, as Evergy explained, if SPP’s transmission voltage

criteria were used, “the standard voltage regulators on the Evergy Companies’


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distribution system are no longer able to bring the voltage up to a level in line with

applicable American National Standards Institute standards.”9 Evergy Rehearing

Request at 7, JA275. FERC also faulted Evergy for “not explain[ing] how using

SPP’s regional planning criteria, which are consistent with NERC reliability

standards and other SPP requirements, will harm reliability,” id., but Evergy (along

with GridLiance) plainly demonstrated the deleterious effects SPP’s Tariff revisions

would have on reliability. Evergy Rehearing Request at 30-31, JA298-99; Evergy

Protest at 13-15, JA131-33; GridLiance Protest at 16-21, JA088-93.

      FERC has an obligation to “examine the relevant data and articulate a

satisfactory explanation for its action including a rational connection between the

facts found and the choice made” NEPGA, 881 F.3d at 210 (quoting Motor Vehicle

Mfrs. Ass’n, 463 U.S. at 43 (1983). In failing to confront the evidence Petitioners

put forth, FERC effectively ignored Petitioners’ well-founded reliability concerns.

This was manifestly arbitrary and capricious and mandates remand and vacatur. See,

e.g., PSEG Energy, 665 F.3d at 207-08, 210-11.


      9
        The American National Standards Institute (ANSI) has coordinated the
development of voluntary consensus standards in the United States for over 100
years, and its guiding principles are followed by entities accredited to develop
American National Standards (ANS). International Organization for Standards,
ANSI, https://www.iso.org/member/2188.html. “Though all ANS are developed as
voluntary documents, U.S. federal, state, or local bodies are increasingly referring
to ANS for regulatory or procurement purposes.” Id. NERC developed its reliability
standards through an ANSI-accredited process. See Policy Statement on Matters
Related to Bulk Power System Reliability, 107 FERC ¶ 61,052, at P 13 (2004).

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III.   The FPA Does Not Require Petitioners to File New Petitions When FERC
       Issues Substantive Rehearing Orders

       FPA section 313 authorizes judicial review of FERC orders and sets clear

deadlines for FERC and the parties appearing before it. Specifically, FERC must

issue an order on rehearing within thirty days of a rehearing request, after which

“such application may be deemed to have been denied.” 16 U.S.C. § 825l(a). An

aggrieved party may then file a petition for review no later than “sixty days after the

order of the Commission upon the application for rehearing.” Id. § 825l(b); see also

Smith Lake Improvement & Stakeholders Ass’n v. FERC, 809 F.3d 55, 56 (D.C. Cir.

2015) (“Our jurisdiction is thus limited to cases in which a petitioner has first sought

rehearing before [FERC] (an exhaustion requirement) and then promptly brings the

petition to our court after the order denying rehearing.”).

       In Allegheny Defense Project v. FERC, 964 F.3d 1 (D.C. Cir. 2020), this Court

ended FERC’s longstanding practice of issuing tolling orders that did “nothing more

than buy itself more time to act on a rehearing application and stall judicial review.”

Allegheny, 964 F.3d at 9. Given the “plain statutory language and context,” this

Court concluded that FERC’s then-ubiquitous tolling orders were “not the kind of

action on a rehearing application that can fend off a deemed denial and the

opportunity for judicial review.” Id at 3-4.

       Nonetheless, post-Allegheny FERC has taken up a new delay tactic in which

its Secretary issues “one of two types of notices no earlier than the 31st day after a

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rehearing request is received: a Notice of Denial of Rehearing by Operation of Law,

or a Notice of Denial of Rehearing by Operation of Law and Providing for Further

Consideration.”10 The latter option, which FERC utilized here, merely “states the

Commission’s intention to issue a further order addressing issues raised on

rehearing.” Id. (emphasis added). It provides no timeline or guarantee that FERC

will actually issue a subsequent order.

      FERC is obligated to “respond meaningfully” to arguments on rehearing. See,

e.g., PSEG Energy, 665 F.3d at 208. But under FERC’s recent practice, aggrieved

parties wishing to exercise their right to seek judicial review are left to speculate

whether and when FERC will actually issue a substantive order.

      Both Evergy and GridLiance filed timely petitions for review in this Court

less than 60 days after FERC denied rehearing by operation of law in Southwest

Power Pool, Inc., 180 FERC ¶ 62,095 (2022). Indeed, Evergy petitioned for review

before FERC’s order because FERC did not bother to mark that thirty days had

passed since Evergy filed its rehearing request. Evergy and GridLiance had no

statutory obligation to wait until the last possible minute to file their petitions to

account for the possibility of FERC issuing a substantive order before their sixty-

day filing periods elapsed. Instead, the case became fully ripe for review with


      10
          Recent Changes in Commission Rehearing Practice (Sept. 17, 2020),
https://www.ferc.gov/news-events/news/recent-changes-commission-rehearing-
practice-item-3.

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respect to Evergy on August 22, 2022, and GridLiance and all other parties on

August 29, 2022. Remaining within the sixty-day timeline was essential not only to

protect Petitioners’ rights to judicial review, but also for Petitioners to obtain a

substantive rehearing order. Absent Petitioners’ prompt requests for judicial review,

FERC had no institutional reason to issue a substantive order. Cf. Coal. of MISO

Transmission Customers, 45 F.4th at 1023 (noting FERC’s failure to issue a

substantive rehearing order).

      There is no meaningful difference between filing a new petition and amending

an existing one. And, as Petitioners explained in their October 4, 2022 response to

FERC’s abeyance motion, filing a new petition for review incurs a material fee,

burdens the Court and parties with the wasteful need to draft and process additional

filings and case consolidations, and imposes needless delay on all parties. It is

simply inequitable, and also a serious drain on judicial economy, to require

Petitioners pay an additional fee to account for FERC’s failure to issue a rehearing

order within the thirty-day timeline prescribed by FPA section 313(a).

      Requiring parties to file new petitions whenever FERC subsequently issues a

substantive rehearing order will accomplish nothing for the Court and will only

encourage FERC to continue its recurrent efforts to “stave off judicial review.”

Allegheny, 964 F.3d at 3. This Court should make clear that parties may amend their

petitions to obtain review of orders issued after the original petitions were filed.


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                                 CONCLUSION

      For the reasons set forth above, the petitions for review should be granted.

                                          Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

      I certify that this brief complies with the requirements of Rules 32(a)(5) and

32(a)(6) of the Federal Rules of Appellate Procedure because it has been prepared

in 14-point Times New Roman, a proportionally spaced font. I further certify that

this brief complies with the type-volume limitations of D.C. Circuit Rule 32(e)

because it contains fewer than 13,000 words, excluding the parts exempted by

Federal Rule of Appellate Procedure 32(f) and D.C. Circuit Rule 32(e)(1), according

to the count of Microsoft Word.

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                        CERTIFICATE OF SERVICE

      I hereby certify that on December 5, 2022, I caused this brief to be

electronically filed with the Clerk of this Court by using the appellate CM/ECF

system. The participants in the case are registered CM/ECF users and service will

be accomplished by the appellate CM/ECF system.

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     ATTACHMENT A
  STATUTORY ADDENDUM
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   Page 1331                             TITLE 16—CONSERVATION                                          § 824d

   § 824d. Rates and charges; schedules; suspension        livering to the public utility affected thereby a
       of new rates; automatic adjustment clauses          statement in writing of its reasons for such sus-
                                                           pension, may suspend the operation of such
   (a) Just and reasonable rates                           schedule and defer the use of such rate, charge,
      All rates and charges made, demanded, or re-         classification, or service, but not for a longer pe-
   ceived by any public utility for or in connection       riod than five months beyond the time when it
   with the transmission or sale of electric energy        would otherwise go into effect; and after full
   subject to the jurisdiction of the Commission,          hearings, either completed before or after the
   and all rules and regulations affecting or per-         rate, charge, classification, or service goes into
   taining to such rates or charges shall be just and      effect, the Commission may make such orders
   reasonable, and any such rate or charge that is         with reference thereto as would be proper in a
   not just and reasonable is hereby declared to be        proceeding initiated after it had become effec-
   unlawful.                                               tive. If the proceeding has not been concluded
   (b) Preference or advantage unlawful                    and an order made at the expiration of such five
                                                           months, the proposed change of rate, charge,
      No public utility shall, with respect to any         classification, or service shall go into effect at
   transmission or sale subject to the jurisdiction        the end of such period, but in case of a proposed
   of the Commission, (1) make or grant any undue          increased rate or charge, the Commission may
   preference or advantage to any person or subject        by order require the interested public utility or
   any person to any undue prejudice or disadvan-          public utilities to keep accurate account in de-
   tage, or (2) maintain any unreasonable dif-             tail of all amounts received by reason of such in-
   ference in rates, charges, service, facilities, or in   crease, specifying by whom and in whose behalf
   any other respect, either as between localities         such amounts are paid, and upon completion of
   or as between classes of service.                       the hearing and decision may by further order
   (c) Schedules                                           require such public utility or public utilities to
                                                           refund, with interest, to the persons in whose
      Under such rules and regulations as the Com-
                                                           behalf such amounts were paid, such portion of
   mission may prescribe, every public utility shall
                                                           such increased rates or charges as by its deci-
   file with the Commission, within such time and
                                                           sion shall be found not justified. At any hearing
   in such form as the Commission may designate,
                                                           involving a rate or charge sought to be in-
   and shall keep open in convenient form and              creased, the burden of proof to show that the in-
   place for public inspection schedules showing all       creased rate or charge is just and reasonable
   rates and charges for any transmission or sale          shall be upon the public utility, and the Com-
   subject to the jurisdiction of the Commission,          mission shall give to the hearing and decision of
   and the classifications, practices, and regula-         such questions preference over other questions
   tions affecting such rates and charges, together        pending before it and decide the same as speed-
   with all contracts which in any manner affect or        ily as possible.
   relate to such rates, charges, classifications, and
                                                           (f) Review of automatic adjustment clauses and
   services.
                                                                public utility practices; action by Commis-
   (d) Notice required for rate changes                         sion; ‘‘automatic adjustment clause’’ defined
      Unless the Commission otherwise orders, no              (1) Not later than 2 years after November 9,
   change shall be made by any public utility in           1978, and not less often than every 4 years there-
   any such rate, charge, classification, or service,      after, the Commission shall make a thorough re-
   or in any rule, regulation, or contract relating        view of automatic adjustment clauses in public
   thereto, except after sixty days’ notice to the         utility rate schedules to examine—
   Commission and to the public. Such notice shall              (A) whether or not each such clause effec-
   be given by filing with the Commission and                 tively provides incentives for efficient use of
   keeping open for public inspection new sched-              resources (including economical purchase and
   ules stating plainly the change or changes to be           use of fuel and electric energy), and
   made in the schedule or schedules then in force              (B) whether any such clause reflects any
   and the time when the change or changes will go            costs other than costs which are—
   into effect. The Commission, for good cause                    (i) subject to periodic fluctuations and
   shown, may allow changes to take effect with-                  (ii) not susceptible to precise determina-
   out requiring the sixty days’ notice herein pro-             tions in rate cases prior to the time such
   vided for by an order specifying the changes so              costs are incurred.
   to be made and the time when they shall take            Such review may take place in individual rate
   effect and the manner in which they shall be            proceedings or in generic or other separate pro-
   filed and published.                                    ceedings applicable to one or more utilities.
                                                             (2) Not less frequently than every 2 years, in
   (e) Suspension of new rates; hearings; five-month
                                                           rate proceedings or in generic or other separate
        period
                                                           proceedings, the Commission shall review, with
      Whenever any such new schedule is filed the          respect to each public utility, practices under
   Commission shall have authority, either upon            any automatic adjustment clauses of such util-
   complaint or upon its own initiative without            ity to insure efficient use of resources (including
   complaint, at once, and, if it so orders, without       economical purchase and use of fuel and electric
   answer or formal pleading by the public utility,        energy) under such clauses.
   but upon reasonable notice, to enter upon a               (3) The Commission may, on its own motion or
   hearing concerning the lawfulness of such rate,         upon complaint, after an opportunity for an evi-
   charge, classification, or service; and, pending        dentiary hearing, order a public utility to—
   such hearing and the decision thereon, the Com-             (A) modify the terms and provisions of any
   mission, upon filing with such schedules and de-          automatic adjustment clause, or




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       (B) cease any practice in connection with                charge, classification, rule, regulation, practice,
     the clause,                                                or contract then in force, and the reasons for
                                                                any proposed change or changes therein. If, after
   if such clause or practice does not result in the
                                                                review of any motion or complaint and answer,
   economical purchase and use of fuel, electric en-
                                                                the Commission shall decide to hold a hearing,
   ergy, or other items, the cost of which is in-
                                                                it shall fix by order the time and place of such
   cluded in any rate schedule under an automatic
                                                                hearing and shall specify the issues to be adju-
   adjustment clause.
                                                                dicated.
     (4) As used in this subsection, the term ‘‘auto-
   matic adjustment clause’’ means a provision of               (b) Refund effective date; preferential proceed-
   a rate schedule which provides for increases or                  ings; statement of reasons for delay; burden
   decreases (or both), without prior hearing, in                   of proof; scope of refund order; refund or-
   rates reflecting increases or decreases (or both)                ders in cases of dilatory behavior; interest
   in costs incurred by an electric utility. Such                 Whenever the Commission institutes a pro-
   term does not include any rate which takes ef-               ceeding under this section, the Commission
   fect subject to refund and subject to a later de-            shall establish a refund effective date. In the
   termination of the appropriate amount of such                case of a proceeding instituted on complaint,
   rate.                                                        the refund effective date shall not be earlier
                                                                than the date of the filing of such complaint nor
   (June 10, 1920, ch. 285, pt. II, § 205, as added Aug.        later than 5 months after the filing of such com-
   26, 1935, ch. 687, title II, § 213, 49 Stat. 851; amend-     plaint. In the case of a proceeding instituted by
   ed Pub. L. 95–617, title II, §§ 207(a), 208, Nov. 9,         the Commission on its own motion, the refund
   1978, 92 Stat. 3142.)                                        effective date shall not be earlier than the date
                         AMENDMENTS                             of the publication by the Commission of notice
                                                                of its intention to initiate such proceeding nor
      1978—Subsec. (d). Pub. L. 95–617, § 207(a), substituted
   ‘‘sixty’’ for ‘‘thirty’’ in two places.
                                                                later than 5 months after the publication date.
      Subsec. (f). Pub. L. 95–617, § 208, added subsec. (f).    Upon institution of a proceeding under this sec-
                                                                tion, the Commission shall give to the decision
    STUDY OF ELECTRIC RATE INCREASES UNDER FEDERAL              of such proceeding the same preference as pro-
                      POWER ACT                                 vided under section 824d of this title and other-
     Section 207(b) of Pub. L. 95–617 directed chairman of      wise act as speedily as possible. If no final deci-
   Federal Energy Regulatory Commission, in consulta-           sion is rendered by the conclusion of the 180-day
   tion with Secretary, to conduct a study of legal re-         period commencing upon initiation of a proceed-
   quirements and administrative procedures involved in         ing pursuant to this section, the Commission
   consideration and resolution of proposed wholesale
   electric rate increases under Federal Power Act, sec-
                                                                shall state the reasons why it has failed to do so
   tion 791a et seq. of this title, for purposes of providing   and shall state its best estimate as to when it
   for expeditious handling of hearings consistent with         reasonably expects to make such decision. In
   due process, preventing imposition of successive rate        any proceeding under this section, the burden of
   increases before they have been determined by Com-           proof to show that any rate, charge, classifica-
   mission to be just and reasonable and otherwise lawful,      tion, rule, regulation, practice, or contract is
   and improving procedures designed to prohibit anti-          unjust, unreasonable, unduly discriminatory, or
   competitive or unreasonable differences in wholesale         preferential shall be upon the Commission or
   and retail rates, or both, and that chairman report to
   Congress within nine months from Nov. 9, 1978, on re-
                                                                the complainant. At the conclusion of any pro-
   sults of study, on administrative actions taken as a re-     ceeding under this section, the Commission may
   sult of this study, and on any recommendations for           order refunds of any amounts paid, for the pe-
   changes in existing law that will aid purposes of this       riod subsequent to the refund effective date
   section.                                                     through a date fifteen months after such refund
                                                                effective date, in excess of those which would
   § 824e. Power of Commission to fix rates and                 have been paid under the just and reasonable
       charges; determination of cost of production             rate, charge, classification, rule, regulation,
       or transmission                                          practice, or contract which the Commission or-
   (a) Unjust or preferential rates, etc.; statement of         ders to be thereafter observed and in force: Pro-
       reasons for changes; hearing; specification of           vided, That if the proceeding is not concluded
       issues                                                   within fifteen months after the refund effective
     Whenever the Commission, after a hearing                   date and if the Commission determines at the
   held upon its own motion or upon complaint,                  conclusion of the proceeding that the proceeding
   shall find that any rate, charge, or classifica-             was not resolved within the fifteen-month pe-
   tion, demanded, observed, charged, or collected              riod primarily because of dilatory behavior by
   by any public utility for any transmission or                the public utility, the Commission may order re-
   sale subject to the jurisdiction of the Commis-              funds of any or all amounts paid for the period
   sion, or that any rule, regulation, practice, or             subsequent to the refund effective date and prior
   contract affecting such rate, charge, or classi-             to the conclusion of the proceeding. The refunds
   fication is unjust, unreasonable, unduly dis-                shall be made, with interest, to those persons
   criminatory or preferential, the Commission                  who have paid those rates or charges which are
   shall determine the just and reasonable rate,                the subject of the proceeding.
   charge, classification, rule, regulation, practice,          (c) Refund considerations; shifting costs; reduc-
   or contract to be thereafter observed and in                     tion in revenues; ‘‘electric utility companies’’
   force, and shall fix the same by order. Any com-                 and ‘‘registered holding company’’ defined
   plaint or motion of the Commission to initiate                 Notwithstanding subsection (b) of this section,
   a proceeding under this section shall state the              in a proceeding commenced under this section
   change or changes to be made in the rate,                    involving two or more electric utility companies




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   of a registered holding company, refunds which        the Bonneville Power Administration only if the
   might otherwise be payable under subsection (b)       sale is at an unjust and unreasonable rate.
   of this section shall not be ordered to the extent      (B) The Commission may order a refund under
   that such refunds would result from any portion       subparagraph (A) only for short-term sales made
   of a Commission order that (1) requires a de-         by the Bonneville Power Administration at
   crease in system production or transmission           rates that are higher than the highest just and
   costs to be paid by one or more of such electric      reasonable rate charged by any other entity for
   companies; and (2) is based upon a determina-         a short-term sale of electric energy in the same
   tion that the amount of such decrease should be       geographic market for the same, or most nearly
   paid through an increase in the costs to be paid      comparable, period as the sale by the Bonneville
   by other electric utility companies of such reg-      Power Administration.
   istered holding company: Provided, That refunds,        (C) In the case of any Federal power market-
   in whole or in part, may be ordered by the Com-       ing agency or the Tennessee Valley Authority,
   mission if it determines that the registered          the Commission shall not assert or exercise any
   holding company would not experience any re-          regulatory authority or power under paragraph
   duction in revenues which results from an in-         (2) other than the ordering of refunds to achieve
   ability of an electric utility company of the         a just and reasonable rate.
   holding company to recover such increase in           (June 10, 1920, ch. 285, pt. II, § 206, as added Aug.
   costs for the period between the refund effective     26, 1935, ch. 687, title II, § 213, 49 Stat. 852; amend-
   date and the effective date of the Commission’s       ed Pub. L. 100–473, § 2, Oct. 6, 1988, 102 Stat. 2299;
   order. For purposes of this subsection, the terms     Pub. L. 109–58, title XII, §§ 1285, 1286, 1295(b), Aug.
   ‘‘electric utility companies’’ and ‘‘registered       8, 2005, 119 Stat. 980, 981, 985.)
   holding company’’ shall have the same meanings
                                                                            REFERENCES IN TEXT
   as provided in the Public Utility Holding Com-
   pany Act of 1935, as amended.1                           The Public Utility Holding Company Act of 1935, re-
                                                         ferred to in subsec. (c), is title I of act Aug. 26, 1935, ch.
   (d) Investigation of costs                            687, 49 Stat. 803, as amended, which was classified gen-
      The Commission upon its own motion, or upon        erally to chapter 2C (§ 79 et seq.) of Title 15, Commerce
   the request of any State commission whenever          and Trade, prior to repeal by Pub. L. 109–58, title XII,
   it can do so without prejudice to the efficient       § 1263, Aug. 8, 2005, 119 Stat. 974. For complete classifica-
   and proper conduct of its affairs, may inves-         tion of this Act to the Code, see Tables.
   tigate and determine the cost of the production                              AMENDMENTS
   or transmission of electric energy by means of           2005—Subsec. (a). Pub. L. 109–58, § 1295(b)(1), sub-
   facilities under the jurisdiction of the Commis-      stituted ‘‘hearing held’’ for ‘‘hearing had’’ in first sen-
   sion in cases where the Commission has no au-         tence.
   thority to establish a rate governing the sale of        Subsec. (b). Pub. L. 109–58, § 1295(b)(2), struck out ‘‘the
   such energy.                                          public utility to make’’ before ‘‘refunds of any amounts
                                                         paid’’ in seventh sentence.
   (e) Short-term sales                                     Pub. L. 109–58, § 1285, in second sentence, substituted
      (1) In this subsection:                            ‘‘the date of the filing of such complaint nor later than
        (A) The term ‘‘short-term sale’’ means an        5 months after the filing of such complaint’’ for ‘‘the
      agreement for the sale of electric energy at       date 60 days after the filing of such complaint nor later
      wholesale in interstate commerce that is for a     than 5 months after the expiration of such 60-day pe-
                                                         riod’’, in third sentence, substituted ‘‘the date of the
      period of 31 days or less (excluding monthly
                                                         publication’’ for ‘‘the date 60 days after the publica-
      contracts subject to automatic renewal).           tion’’ and ‘‘5 months after the publication date’’ for ‘‘5
        (B) The term ‘‘applicable Commission rule’’      months after the expiration of such 60-day period’’, and
      means a Commission rule applicable to sales        in fifth sentence, substituted ‘‘If no final decision is
      at wholesale by public utilities that the Com-     rendered by the conclusion of the 180-day period com-
      mission determines after notice and comment        mencing upon initiation of a proceeding pursuant to
      should also be applicable to entities subject to   this section, the Commission shall state the reasons
      this subsection.                                   why it has failed to do so and shall state its best esti-
                                                         mate as to when it reasonably expects to make such de-
      (2) If an entity described in section 824(f) of    cision’’ for ‘‘If no final decision is rendered by the re-
   this title voluntarily makes a short-term sale of     fund effective date or by the conclusion of the 180-day
   electric energy through an organized market in        period commencing upon initiation of a proceeding pur-
   which the rates for the sale are established by       suant to this section, whichever is earlier, the Commis-
   Commission-approved tariff (rather than by con-       sion shall state the reasons why it has failed to do so
                                                         and shall state its best estimate as to when it reason-
   tract) and the sale violates the terms of the tar-
                                                         ably expects to make such decision’’.
   iff or applicable Commission rules in effect at          Subsec. (e). Pub. L. 109–58, § 1286, added subsec. (e).
   the time of the sale, the entity shall be subject        1988—Subsec. (a). Pub. L. 100–473, § 2(1), inserted provi-
   to the refund authority of the Commission under       sions for a statement of reasons for listed changes,
   this section with respect to the violation.           hearings, and specification of issues.
      (3) This section shall not apply to—                  Subsecs. (b) to (d). Pub. L. 100–473, § 2(2), added sub-
        (A) any entity that sells in total (including    secs. (b) and (c) and redesignated former subsec. (b) as
                                                         (d).
      affiliates of the entity) less than 8,000,000
      megawatt hours of electricity per year; or                   EFFECTIVE DATE OF 1988 AMENDMENT
        (B) an electric cooperative.                       Section 4 of Pub. L. 100–473 provided that: ‘‘The
     (4)(A) The Commission shall have refund au-         amendments made by this Act [amending this section]
   thority under paragraph (2) with respect to a         are not applicable to complaints filed or motions initi-
                                                         ated before the date of enactment of this Act [Oct. 6,
   voluntary short term sale of electric energy by       1988] pursuant to section 206 of the Federal Power Act
                                                         [this section]: Provided, however, That such complaints
    1 See References in Text note below.                 may be withdrawn and refiled without prejudice.’’




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             LIMITATION ON AUTHORITY PROVIDED                    § 824h. References to State boards by Commis-
     Section 3 of Pub. L. 100–473 provided that: ‘‘Nothing           sion
   in subsection (c) of section 206 of the Federal Power
                                                                 (a) Composition of boards; force and effect of
   Act, as amended (16 U.S.C. 824e(c)) shall be interpreted
   to confer upon the Federal Energy Regulatory Commis-              proceedings
   sion any authority not granted to it elsewhere in such          The Commission may refer any matter arising
   Act [16 U.S.C. 791a et seq.] to issue an order that (1) re-   in the administration of this subchapter to a
   quires a decrease in system production or transmission        board to be composed of a member or members,
   costs to be paid by one or more electric utility compa-
                                                                 as determined by the Commission, from the
   nies of a registered holding company; and (2) is based
   upon a determination that the amount of such decrease         State or each of the States affected or to be af-
   should be paid through an increase in the costs to be         fected by such matter. Any such board shall be
   paid by other electric utility companies of such reg-         vested with the same power and be subject to
   istered holding company. For purposes of this section,        the same duties and liabilities as in the case of
   the terms ‘electric utility companies’ and ‘registered        a member of the Commission when designated
   holding company’ shall have the same meanings as pro-         by the Commission to hold any hearings. The
   vided in the Public Utility Holding Company Act of            action of such board shall have such force and
   1935, as amended [15 U.S.C. 79 et seq.].’’
                                                                 effect and its proceedings shall be conducted in
                             STUDY                               such manner as the Commission shall by regula-
                                                                 tions prescribe. The board shall be appointed by
      Section 5 of Pub. L. 100–473 directed that, no earlier
   than three years and no later than four years after Oct.      the Commission from persons nominated by the
   6, 1988, Federal Energy Regulatory Commission perform         State commission of each State affected or by
   a study of effect of amendments to this section, analyz-      the Governor of such State if there is no State
   ing (1) impact, if any, of such amendments on cost of         commission. Each State affected shall be enti-
   capital paid by public utilities, (2) any change in aver-     tled to the same number of representatives on
   age time taken to resolve proceedings under this sec-         the board unless the nominating power of such
   tion, and (3) such other matters as Commission may            State waives such right. The Commission shall
   deem appropriate in public interest, with study to be
                                                                 have discretion to reject the nominee from any
   sent to Committee on Energy and Natural Resources of
   Senate and Committee on Energy and Commerce of                State, but shall thereupon invite a new nomina-
   House of Representatives.                                     tion from that State. The members of a board
                                                                 shall receive such allowances for expenses as the
   § 824f. Ordering furnishing of adequate service               Commission shall provide. The Commission
                                                                 may, when in its discretion sufficient reason ex-
     Whenever the Commission, upon complaint of
                                                                 ists therefor, revoke any reference to such a
   a State commission, after notice to each State
                                                                 board.
   commission and public utility affected and after
   opportunity for hearing, shall find that any                  (b) Cooperation with State commissions
   interstate service of any public utility is inad-               The Commission may confer with any State
   equate or insufficient, the Commission shall de-              commission regarding the relationship between
   termine the proper, adequate, or sufficient serv-             rate structures, costs, accounts, charges, prac-
   ice to be furnished, and shall fix the same by its            tices, classifications, and regulations of public
   order, rule, or regulation: Provided, That the                utilities subject to the jurisdiction of such State
   Commission shall have no authority to compel                  commission and of the Commission; and the
   the enlargement of generating facilities for such             Commission is authorized, under such rules and
   purposes, nor to compel the public utility to sell            regulations as it shall prescribe, to hold joint
   or exchange energy when to do so would impair                 hearings with any State commission in connec-
   its ability to render adequate service to its cus-            tion with any matter with respect to which the
   tomers.                                                       Commission is authorized to act. The Commis-
   (June 10, 1920, ch. 285, pt. II, § 207, as added Aug.         sion is authorized in the administration of this
   26, 1935, ch. 687, title II, § 213, 49 Stat. 853.)            chapter to avail itself of such cooperation, serv-
                                                                 ices, records, and facilities as may be afforded
   § 824g. Ascertainment of cost of property and de-             by any State commission.
       preciation                                                (c) Availability of information and reports to
   (a) Investigation of property costs                               State commissions; Commission experts
     The Commission may investigate and ascer-                     The Commission shall make available to the
   tain the actual legitimate cost of the property               several State commissions such information and
   of every public utility, the depreciation therein,            reports as may be of assistance in State regula-
   and, when found necessary for rate-making pur-                tion of public utilities. Whenever the Commis-
   poses, other facts which bear on the determina-               sion can do so without prejudice to the efficient
   tion of such cost or depreciation, and the fair               and proper conduct of its affairs, it may upon re-
   value of such property.                                       quest from a State make available to such State
                                                                 as witnesses any of its trained rate, valuation,
   (b) Request for inventory and cost statements                 or other experts, subject to reimbursement to
     Every public utility upon request shall file                the Commission by such State of the compensa-
   with the Commission an inventory of all or any                tion and traveling expenses of such witnesses.
   part of its property and a statement of the origi-            All sums collected hereunder shall be credited to
   nal cost thereof, and shall keep the Commission               the appropriation from which the amounts were
   informed regarding the cost of all additions, bet-            expended in carrying out the provisions of this
   terments, extensions, and new construction.                   subsection.
   (June 10, 1920, ch. 285, pt. II, § 208, as added Aug.         (June 10, 1920, ch. 285, pt. II, § 209, as added Aug.
   26, 1935, ch. 687, title II, § 213, 49 Stat. 853.)            26, 1935, ch. 687, title II, § 213, 49 Stat. 853.)




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   ation, management, and control of all facilities                § 825l. Review of orders
   for such generation, transmission, distribution,
                                                                   (a) Application for rehearing; time periods; modi-
   and sale; the capacity and output thereof and
                                                                       fication of order
   the relationship between the two; the cost of
   generation, transmission, and distribution; the                   Any person, electric utility, State, municipal-
   rates, charges, and contracts in respect of the                 ity, or State commission aggrieved by an order
   sale of electric energy and its service to residen-             issued by the Commission in a proceeding under
   tial, rural, commercial, and industrial consum-                 this chapter to which such person, electric util-
   ers and other purchasers by private and public                  ity, State, municipality, or State commission is
   agencies; and the relation of any or all such                   a party may apply for a rehearing within thirty
   facts to the development of navigation, indus-                  days after the issuance of such order. The appli-
   try, commerce, and the national defense. The                    cation for rehearing shall set forth specifically
   Commission shall report to Congress the results                 the ground or grounds upon which such applica-
   of investigations made under authority of this                  tion is based. Upon such application the Com-
   section.                                                        mission shall have power to grant or deny re-
                                                                   hearing or to abrogate or modify its order with-
   (June 10, 1920, ch. 285, pt. III, § 311, as added Aug.          out further hearing. Unless the Commission acts
   26, 1935, ch. 687, title II, § 213, 49 Stat. 859.)              upon the application for rehearing within thirty
   § 825k. Publication and sale of reports                         days after it is filed, such application may be
                                                                   deemed to have been denied. No proceeding to
     The Commission may provide for the publica-                   review any order of the Commission shall be
   tion of its reports and decisions in such form                  brought by any entity unless such entity shall
   and manner as may be best adapted for public                    have made application to the Commission for a
   information and use, and is authorized to sell at               rehearing thereon. Until the record in a proceed-
   reasonable prices copies of all maps, atlases, and              ing shall have been filed in a court of appeals, as
   reports as it may from time to time publish.                    provided in subsection (b) of this section, the
   Such reasonable prices may include the cost of                  Commission may at any time, upon reasonable
   compilation, composition, and reproduction.                     notice and in such manner as it shall deem prop-
   The Commission is also authorized to make such                  er, modify or set aside, in whole or in part, any
   charges as it deems reasonable for special statis-              finding or order made or issued by it under the
   tical services and other special or periodic serv-              provisions of this chapter.
   ices. The amounts collected under this section
                                                                   (b) Judicial review
   shall be deposited in the Treasury to the credit
   of miscellaneous receipts. All printing for the                   Any party to a proceeding under this chapter
   Federal Power Commission making use of en-                      aggrieved by an order issued by the Commission
   graving, lithography, and photolithography, to-                 in such proceeding may obtain a review of such
   gether with the plates for the same, shall be                   order in the United States court of appeals for
   contracted for and performed under the direc-                   any circuit wherein the licensee or public utility
   tion of the Commission, under such limitations                  to which the order relates is located or has its
   and conditions as the Joint Committee on Print-                 principal place of business, or in the United
   ing may from time to time prescribe, and all                    States Court of Appeals for the District of Co-
   other printing for the Commission shall be done                 lumbia, by filing in such court, within sixty
   by the Public Printer under such limitations                    days after the order of the Commission upon the
   and conditions as the Joint Committee on Print-                 application for rehearing, a written petition
   ing may from time to time prescribe. The entire                 praying that the order of the Commission be
   work may be done at, or ordered through, the                    modified or set aside in whole or in part. A copy
   Government Printing Office whenever, in the                     of such petition shall forthwith be transmitted
   judgment of the Joint Committee on Printing,                    by the clerk of the court to any member of the
   the same would be to the interest of the Govern-                Commission and thereupon the Commission
   ment: Provided, That when the exigencies of the                 shall file with the court the record upon which
   public service so require, the Joint Committee                  the order complained of was entered, as provided
   on Printing may authorize the Commission to                     in section 2112 of title 28. Upon the filing of such
   make immediate contracts for engraving, litho-                  petition such court shall have jurisdiction,
   graphing, and photolithographing, without ad-                   which upon the filing of the record with it shall
   vertisement for proposals: Provided further, That               be exclusive, to affirm, modify, or set aside such
   nothing contained in this chapter or any other                  order in whole or in part. No objection to the
   Act shall prevent the Federal Power Commis-                     order of the Commission shall be considered by
   sion from placing orders with other departments                 the court unless such objection shall have been
   or establishments for engraving, lithographing,                 urged before the Commission in the application
   and photolithographing, in accordance with the                  for rehearing unless there is reasonable ground
   provisions of sections 1535 and 1536 of title 31,               for failure so to do. The finding of the Commis-
   providing for interdepartmental work.                           sion as to the facts, if supported by substantial
                                                                   evidence, shall be conclusive. If any party shall
   (June 10, 1920, ch. 285, pt. III, § 312, as added Aug.          apply to the court for leave to adduce additional
   26, 1935, ch. 687, title II, § 213, 49 Stat. 859.)              evidence, and shall show to the satisfaction of
                          CODIFICATION                             the court that such additional evidence is mate-
     ‘‘Sections 1535 and 1536 of title 31’’ substituted in text
                                                                   rial and that there were reasonable grounds for
   for ‘‘sections 601 and 602 of the Act of June 30, 1932 (47      failure to adduce such evidence in the proceed-
   Stat. 417 [31 U.S.C. 686, 686b])’’ on authority of Pub. L.      ings before the Commission, the court may
   97–258, § 4(b), Sept. 13, 1982, 96 Stat. 1067, the first sec-   order such additional evidence to be taken be-
   tion of which enacted Title 31, Money and Finance.              fore the Commission and to be adduced upon the




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   hearing in such manner and upon such terms                     States or the United States courts of any Terri-
   and conditions as to the court may seem proper.                tory or other place subject to the jurisdiction of
   The Commission may modify its findings as to                   the United States, to enjoin such acts or prac-
   the facts by reason of the additional evidence so              tices and to enforce compliance with this chap-
   taken, and it shall file with the court such                   ter or any rule, regulation, or order thereunder,
   modified or new findings which, if supported by                and upon a proper showing a permanent or tem-
   substantial evidence, shall be conclusive, and its             porary injunction or decree or restraining order
   recommendation, if any, for the modification or                shall be granted without bond. The Commission
   setting aside of the original order. The judgment              may transmit such evidence as may be available
   and decree of the court, affirming, modifying, or              concerning such acts or practices to the Attor-
   setting aside, in whole or in part, any such order             ney General, who, in his discretion, may insti-
   of the Commission, shall be final, subject to re-              tute the necessary criminal proceedings under
   view by the Supreme Court of the United States                 this chapter.
   upon certiorari or certification as provided in                (b) Writs of mandamus
   section 1254 of title 28.
                                                                    Upon application of the Commission the dis-
   (c) Stay of Commission’s order                                 trict courts of the United States and the United
     The filing of an application for rehearing                   States courts of any Territory or other place
   under subsection (a) of this section shall not,                subject to the jurisdiction of the United States
   unless specifically ordered by the Commission,                 shall have jurisdiction to issue writs of manda-
   operate as a stay of the Commission’s order. The               mus commanding any person to comply with the
   commencement of proceedings under subsection                   provisions of this chapter or any rule, regula-
   (b) of this section shall not, unless specifically             tion, or order of the Commission thereunder.
   ordered by the court, operate as a stay of the                 (c) Employment of attorneys
   Commission’s order.                                              The Commission may employ such attorneys
   (June 10, 1920, ch. 285, pt. III, § 313, as added Aug.         as it finds necessary for proper legal aid and
   26, 1935, ch. 687, title II, § 213, 49 Stat. 860; amend-       service of the Commission or its members in the
   ed June 25, 1948, ch. 646, § 32(a), 62 Stat. 991; May          conduct of their work, or for proper representa-
   24, 1949, ch. 139, § 127, 63 Stat. 107; Pub. L. 85–791,        tion of the public interests in investigations
   § 16, Aug. 28, 1958, 72 Stat. 947; Pub. L. 109–58,             made by it or cases or proceedings pending be-
   title XII, § 1284(c), Aug. 8, 2005, 119 Stat. 980.)            fore it, whether at the Commission’s own in-
                                                                  stance or upon complaint, or to appear for or
                          CODIFICATION
                                                                  represent the Commission in any case in court;
     In subsec. (b), ‘‘section 1254 of title 28’’ substituted     and the expenses of such employment shall be
   for ‘‘sections 239 and 240 of the Judicial Code, as amend-     paid out of the appropriation for the Commis-
   ed (U.S.C., title 28, secs. 346 and 347)’’ on authority of     sion.
   act June 25, 1948, ch. 646, 62 Stat. 869, the first section
   of which enacted Title 28, Judiciary and Judicial Proce-       (d) Prohibitions on violators
   dure.                                                            In any proceedings under subsection (a) of this
                         AMENDMENTS                               section, the court may prohibit, conditionally or
                                                                  unconditionally, and permanently or for such
      2005—Subsec. (a). Pub. L. 109–58 inserted ‘‘electric        period of time as the court determines, any indi-
   utility,’’ after ‘‘Any person,’’ and ‘‘to which such per-
   son,’’ and substituted ‘‘brought by any entity unless
                                                                  vidual who is engaged or has engaged in prac-
   such entity’’ for ‘‘brought by any person unless such          tices constituting a violation of section 824u of
   person’’.                                                      this title (and related rules and regulations)
      1958—Subsec. (a). Pub. L. 85–791, § 16(a), inserted sen-    from—
   tence to provide that Commission may modify or set                 (1) acting as an officer or director of an elec-
   aside findings or orders until record has been filed in          tric utility; or
   court of appeals.                                                  (2) engaging in the business of purchasing or
      Subsec. (b). Pub. L. 85–791, § 16(b), in second sentence,     selling—
   substituted ‘‘transmitted by the clerk of the court to’’
   for ‘‘served upon’’, substituted ‘‘file with the court’’ for
                                                                        (A) electric energy; or
   ‘‘certify and file with the court a transcript of’’, and in-         (B) transmission services subject to the ju-
   serted ‘‘as provided in section 2112 of title 28’’, and in         risdiction of the Commission.
   third sentence, substituted ‘‘jurisdiction, which upon         (June 10, 1920, ch. 285, pt. III, § 314, as added Aug.
   the filing of the record with it shall be exclusive’’ for
   ‘‘exclusive jurisdiction’’.
                                                                  26, 1935, ch. 687, title II, § 213, 49 Stat. 861; amend-
                                                                  ed June 25, 1936, ch. 804, 49 Stat. 1921; June 25,
                        CHANGE OF NAME                            1948, ch. 646, § 32(b), 62 Stat. 991; May 24, 1949, ch.
     Act June 25, 1948, eff. Sept. 1, 1948, as amended by act     139, § 127, 63 Stat. 107; Pub. L. 109–58, title XII,
   May 24, 1949, substituted ‘‘court of appeals’’ for ‘‘circuit   § 1288, Aug. 8, 2005, 119 Stat. 982.)
   court of appeals’’.                                                                 CODIFICATION
   § 825m. Enforcement provisions                                   As originally enacted subsecs. (a) and (b) contained
                                                                  references to the Supreme Court of the District of Co-
   (a) Enjoining and restraining violations                       lumbia. Act June 25, 1936, substituted ‘‘the district
     Whenever it shall appear to the Commission                   court of the United States for the District of Colum-
   that any person is engaged or about to engage in               bia’’ for ‘‘the Supreme Court of the District of Colum-
                                                                  bia’’, and act June 25, 1948, as amended by act May 24,
   any acts or practices which constitute or will                 1949, substituted ‘‘United States District Court for the
   constitute a violation of the provisions of this               District of Columbia’’ for ‘‘district court of the United
   chapter, or of any rule, regulation, or order                  States for the District of Columbia’’. However, the
   thereunder, it may in its discretion bring an ac-              words ‘‘United States District Court for the District of
   tion in the proper District Court of the United                Columbia’’ have been deleted entirely as superfluous in




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